EXHIBIT 2
11/27/2017                                           Cuyahoga County Clerk of Courts - Case Docket


                                                                  Print

                                                    CASE INFORMATION

  CV-17-888099 THE COUNTY OF CUYAHOGA vs. PURDUE PHARMA, L.P., ET AL.

                                                          Docket Information

  Filing Date Side Type Description                                                               Image
  11/27/2017 N/A JE MOTION OF DEFENDANTS CARDINAL HEALTH, INC. AND MCKESSON CORPORATION
                        FOR EXTENSION OF TIME TO MOVE OR PLEAD, FILED 11/21/2017, IS GRANTED.
                        DEFENDANTS CARDINAL HEALTH, INC. AND MCKESSON CORPORATION ARE
                        GRANTED LEAVE UNTIL ON OR BEFORE 1/15/2018 TO ANSWER OR OTHERWISE
                        RESPOND TO PLAINTIFF'S COMPLAINT. MOTION FOR EXTENSION OF TIME FOR
                        DEFENDANTS PERRY FINE, M.D., SCOTT FISHMAN, M.D. AND LYNN WEBSTER, M.D.
                        TO RESPOND TO PLAINTIFF COUNTY OF CUYAHOGA'S COMPLAINT, FILED 11/27/2017,
                        IS GRANTED. DEFENDANTS PERRY FINE, M.D., SCOTT FISHMAN, M.D. AND LYNN
                        WEBSTER, M.D. ARE GRANTED LEAVE TO ANSWER OR OTHERWISE RESPOND TO
                        PLAINTIFF'S COMPLAINT UNTIL ON OR BEFORE 1/18/2018. NOTICE ISSUED
  11/27/2017 D     MO MOTION FOR EXTENSION OF TIME CONSENT MOTION FOR EXTENSION OF TIME FOR
                        DEFENDANTS PERRY FINE, M.D., SCOTT FISHMAN, M.D. AND LYNN WEBSTER, M.D.
                        TO RESPOND TO PLAINTIFF COUNTY OF CUYAHOGA'S COMPLAINT 11/27/2017 -
                        GRANTED
  11/21/2017 D19 MO MOTION FOR EXTENSION OF TIME MOTION OF DEFENDANTS CARDINAL HEALTH,
                        INC. AND MCKESSON CORPORATION FOR EXTENSION OF TIME TO MOVE OR PLEAD
                        11/27/2017 - GRANTED
  11/16/2017 N/A SR SUMMONS E-FILE COPY COST
  11/16/2017 D20 CS WRIT FEE
  11/16/2017 D20 SR SUMS COMPLAINT(33820966) SENT BY CERTIFIED MAIL. TO: AMERISOURCEBERGEN
                        CORPORATION CORPORATION TRUST CENTER 1209 ORANGE ST WILMINGTON, DE
                        19801-0000
  11/11/2017 N/A SR FEDEX RECEIPT NO. 33652421 DELIVERED BY FEDEX 11/10/2017 FINE/PERRY/
                        PROCESSED BY COC 11/11/2017.
  11/09/2017 P1 SR REQUEST FOR SERVICE FILED INSTRUCTIONS FOR SERVICE
  11/09/2017 N/A SR         FX RECEIPT NO. 33652419 RETURNED 10/31/2017 FAILURE OF SERVICE ON PARTY
                            AMERISOURCEBERGEN CORPORATION - BAD ADDRESS AFTER 8 DAYS
  11/07/2017 D21 NT         NOTICE OF APPEARANCE, FILED D21 RUSSELL PORTENOY O JUDSON SCHEAF
                            0040285. NOTICE OF APPEARANCE OF O. JUDSON SCHEAF III AND JORDAN D. RAUCH
  11/03/2017 N/A SR         FEDEX RECEIPT NO. 33652423 DELIVERED BY FEDEX 11/01/2017 WEBSTER/LYNN/
                            PROCESSED BY COC 11/03/2017.
  11/02/2017 N/A SR         FEDEX RECEIPT NO. 33652422 DELIVERED BY FEDEX 11/01/2017 FISHMAN/SCOTT/
                            PROCESSED BY COC 11/02/2017.
  11/02/2017 N/A SR         FEDEX RECEIPT NO. 33652418 DELIVERED BY FEDEX 11/01/2017 CARDINAL HEALTH,
                            INC. PROCESSED BY COC 11/02/2017.
  11/02/2017 N/A SR         FEDEX RECEIPT NO. 33652417 DELIVERED BY FEDEX 11/01/2017 MCKESSON
                            CORPORATION PROCESSED BY COC 11/02/2017.
  11/02/2017 N/A SR         FEDEX RECEIPT NO. 33652410 DELIVERED BY FEDEX 11/01/2017 ALLERGAN PLC
                            PROCESSED BY COC 11/02/2017.
  11/02/2017 N/A SR         FEDEX RECEIPT NO. 33652408 DELIVERED BY FEDEX 11/01/2017 JANSSEN
                            PHARMACEUTICA, INC. PROCESSED BY COC 11/02/2017.
  11/02/2017 N/A SR         FEDEX RECEIPT NO. 33652407 DELIVERED BY FEDEX 11/01/2017 ORTHO-MCNEIL-
                            JANSSEN PHARMACEUTICALS, INC. PROCESSED BY COC 11/02/2017.
  11/02/2017 N/A SR         FEDEX RECEIPT NO. 33652406 DELIVERED BY FEDEX 11/01/2017 JANSSEN
                            PHARMACEUTICALS, INC. PROCESSED BY COC 11/02/2017.
  11/02/2017 N/A SR         FEDEX RECEIPT NO. 33652405 DELIVERED BY FEDEX 11/01/2017 JOHNSON &
                            JOHNSON PROCESSED BY COC 11/02/2017.
  11/01/2017 N/A SR         FEDEX RECEIPT NO. 33652951 DELIVERED BY FEDEX 10/31/2017 CEPHALON, INC.
                            PROCESSED BY COC 11/01/2017.
  11/01/2017 N/A SR         FEDEX RECEIPT NO. 33652950 DELIVERED BY FEDEX 10/31/2017 TEVA

https://cpdocket.cp.cuyahogacounty.us/CV_CaseInformation_Docket.aspx?q=2RwWNtqWJaifCkqfmO-aVA2&isprint=Y   1/4
11/27/2017                                           Cuyahoga County Clerk of Courts - Case Docket

                            PHARMACEUTICALS USA, INC. PROCESSED BY COC 11/01/2017.
  11/01/2017 N/A SR         FEDEX RECEIPT NO. 33652420 DELIVERED BY FEDEX 10/31/2017
                            PORTENOY/RUSSELL/ PROCESSED BY COC 11/01/2017.
  11/01/2017 N/A SR         FEDEX RECEIPT NO. 33652416 DELIVERED BY FEDEX 10/31/2017 INSYS
                            THERAPEUTICS, INC. PROCESSED BY COC 11/01/2017.
  11/01/2017 N/A SR         FEDEX RECEIPT NO. 33652415 DELIVERED BY FEDEX 10/31/2017 ENDO HEALTH
                            SOLUTIONS, INC. PROCESSED BY COC 11/01/2017.
  11/01/2017 N/A SR         FEDEX RECEIPT NO. 33652414 DELIVERED BY FEDEX 10/31/2017 ACTAVIS PHARMA,
                            INC. PROCESSED BY COC 11/01/2017.
  11/01/2017 N/A SR         FEDEX RECEIPT NO. 33652413 DELIVERED BY FEDEX 10/31/2017 ACTAVIS, LLC.
                            PROCESSED BY COC 11/01/2017.
  11/01/2017 N/A SR         FEDEX RECEIPT NO. 33652412 DELIVERED BY FEDEX 10/31/2017 WATSON
                            LABORATORIES, INC. PROCESSED BY COC 11/01/2017.
  11/01/2017 N/A SR         FEDEX RECEIPT NO. 33652411 DELIVERED BY FEDEX 10/31/2017 ACTAVIS, INC.
                            PROCESSED BY COC 11/01/2017.
  11/01/2017 N/A SR         FEDEX RECEIPT NO. 33652409 DELIVERED BY FEDEX 10/31/2017 ENDO
                            PHARMACEUTICALS, INC. PROCESSED BY COC 11/01/2017.
  11/01/2017 N/A SR         FEDEX RECEIPT NO. 33652402 DELIVERED BY FEDEX 10/31/2017 PURDUE FREDERICK
                            COMPANY, INC. PROCESSED BY COC 11/01/2017.
  11/01/2017 N/A SR         FEDEX RECEIPT NO. 33652401 DELIVERED BY FEDEX 10/31/2017 PURDUE PHARMA,
                            INC. PROCESSED BY COC 11/01/2017.
  11/01/2017 N/A SR         FEDEX RECEIPT NO. 33652400 DELIVERED BY FEDEX 10/31/2017 PURDUE PHARMA,
                            L.P. PROCESSED BY COC 11/01/2017.
  10/27/2017 N/A SR         SUMMONS E-FILE COPY COST
  10/27/2017 D5 CS          WRIT FEE
  10/27/2017 D5 SR          SUMS COMPLAINT(33652951) SENT BY FEDERAL EXPRESS. TO: CEPHALON, INC. C/O
                            CORP. CREATIONS NETWORK, INC. 3411 SILVERSIDE ROAD WILMINGTON, DE 19810-
                            0000
  10/27/2017 D4 CS          WRIT FEE
  10/27/2017 N/A SR         SUMMONS E-FILE COPY COST
  10/27/2017 D4 SR          SUMS COMPLAINT(33652950) SENT BY FEDERAL EXPRESS. TO: TEVA
                            PHARMACEUTICALS USA, INC. C/O CORP. CREATIONS NETWORK, INC. 3411
                            SILVERSIDE ROAD WILMINGTON, DE 19810-0000
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    D24   CS    WRIT FEE
  10/27/2017    D24   SR    SUMS COMPLAINT(33652423) SENT BY FEDERAL EXPRESS. TO: LYNN WEBSTER PRA
                            HEALTH SCIENCES 3838 S. 700 E. #202 SALT LAKE COUNTY, UT 84106
  10/27/2017 D23 CS         WRIT FEE
  10/27/2017 D23 SR         SUMS COMPLAINT(33652422) SENT BY FEDERAL EXPRESS. TO: SCOTT FISHMAN 2221
                            STOCKTON BLVD. SACRAMENTO, CA 95817
  10/27/2017 D22 CS         WRIT FEE
  10/27/2017 D22 SR         SUMS COMPLAINT(33652421) SENT BY FEDERAL EXPRESS. TO: PERRY FINE 615
                            ARAPEEN WAY, SUITE 155 SALT LAKE COUNTY, UT 84132
  10/27/2017 D21 CS         WRIT FEE
  10/27/2017 D21 SR         SUMS COMPLAINT(33652420) SENT BY FEDERAL EXPRESS. TO: RUSSELL PORTENOY
                            39 BROADWAY, 1ST FLOOR NEW YORK, NY 10006
  10/27/2017 D20 CS         WRIT FEE
  10/27/2017 D20 SR         SUMS COMPLAINT(33652419) SENT BY FEDERAL EXPRESS. TO:
                            AMERISOURCEBERGEN CORPORATION 1300 EAST NINTH STREET CLEVELAND, OH
                            44114
  10/27/2017 D19 CS         WRIT FEE
  10/27/2017 D19 SR         SUMS COMPLAINT(33652418) SENT BY FEDERAL EXPRESS. TO: CARDINAL HEALTH,
                            INC. 7000 CARDINAL PLACE DUBLIN, OH 43017
  10/27/2017 D18 CS         WRIT FEE
https://cpdocket.cp.cuyahogacounty.us/CV_CaseInformation_Docket.aspx?q=2RwWNtqWJaifCkqfmO-aVA2&isprint=Y   2/4
11/27/2017                                           Cuyahoga County Clerk of Courts - Case Docket

  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    D18   SR    SUMS COMPLAINT(33652417) SENT BY FEDERAL EXPRESS. TO: MCKESSON
                            CORPORATION 50 WEST BROAD STREET, SUITE 1330 COLUMBUS, OH 43215
  10/27/2017 D17 CS         WRIT FEE
  10/27/2017 D17 SR         SUMS COMPLAINT(33652416) SENT BY FEDERAL EXPRESS. TO: INSYS
                            THERAPEUTICS, INC. 1333 S. SPECTRUM BLVD., #100 CHANDLER, AZ 85286
  10/27/2017 D16 CS         WRIT FEE
  10/27/2017 D16 SR         SUMS COMPLAINT(33652415) SENT BY FEDERAL EXPRESS. TO: ENDO HEALTH
                            SOLUTIONS, INC. C/O CORPORATION TRUST CO. 1209 ORANGE STREET
                            WILMINGTON, DE 19801
  10/27/2017 D15 CS         WRIT FEE
  10/27/2017 D15 SR         SUMS COMPLAINT(33652414) SENT BY FEDERAL EXPRESS. TO: ACTAVIS PHARMA,
                            INC. C/O CORP. CREATIONS NETWORK, INC. 119 E. COURT STREET CINCINNATI, OH
                            45202
  10/27/2017 D14 CS         WRIT FEE
  10/27/2017 D14 SR         SUMS COMPLAINT(33652413) SENT BY FEDERAL EXPRESS. TO: ACTAVIS, LLC. C/O
                            CORP. CREATIONS NETWORK, INC. 119 E. COURT STREET CINCINNATI, OH 45202
  10/27/2017 D13 CS         WRIT FEE
  10/27/2017 D13 SR         SUMS COMPLAINT(33652412) SENT BY FEDERAL EXPRESS. TO: WATSON
                            LABORATORIES, INC. C/O CORP. CREATIONS NETWORK, INC. 119 E. COURT STREET
                            CINCINNATI, OH 45202
  10/27/2017 D12 CS         WRIT FEE
  10/27/2017 D12 SR         SUMS COMPLAINT(33652411) SENT BY FEDERAL EXPRESS. TO: ACTAVIS, INC. C/O
                            CORP. CREATIONS NETWORK, INC. 119 E. COURT STREET CINCINNATI, OH 45202
  10/27/2017 D11 CS         WRIT FEE
  10/27/2017 D11 SR         SUMS COMPLAINT(33652410) SENT BY FEDERAL EXPRESS. TO: ALLERGAN PLC C/O
                            CT CORPORATION SYSTEM 4400 EASTON COMMONS WAY, SUITE 125 COLUMBUS, OH
                            43215
  10/27/2017 D10 CS         WRIT FEE
  10/27/2017 D10 SR         SUMS COMPLAINT(33652409) SENT BY FEDERAL EXPRESS. TO: ENDO
                            PHARMACEUTICALS, INC. C/O CORPORATION TRUST CO. 1209 ORANGE STREET
                            WILMINGTON, DE 19801
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR    SUMMONS E-FILE COPY COST
  10/27/2017    D9    CS    WRIT FEE
  10/27/2017    D9    SR    SUMS COMPLAINT(33652408) SENT BY FEDERAL EXPRESS. TO: JANSSEN
                            PHARMACEUTICA, INC. 116 PINE STREET, SUITE 320 HARRISBURG, PA 17101
  10/27/2017 D8       CS    WRIT FEE
  10/27/2017 D8       SR    SUMS COMPLAINT(33652407) SENT BY FEDERAL EXPRESS. TO: ORTHO-MCNEIL-
                            JANSSEN PHARMACEUTICALS, INC. 116 PINE STREET, SUITE 320 HARRISBURG, PA
                            17101
  10/27/2017 D7       CS    WRIT FEE
  10/27/2017 D7       SR    SUMS COMPLAINT(33652406) SENT BY FEDERAL EXPRESS. TO: JANSSEN
                            PHARMACEUTICALS, INC. 116 PINE STREET, SUITE 320 HARRISBURG, PA 17101
  10/27/2017 D6       CS    WRIT FEE
  10/27/2017 D6       SR    SUMS COMPLAINT(33652405) SENT BY FEDERAL EXPRESS. TO: JOHNSON &
                            JOHNSON ONE JOHNSON & JOHNSON PLAZA NEW BRUNSWICK, NJ 08933
  10/27/2017 D3       CS    WRIT FEE
  10/27/2017 D3       SR    SUMS COMPLAINT(33652402) SENT BY FEDERAL EXPRESS. TO: PURDUE FREDERICK
                            COMPANY, INC. C/O PRENTICE HALL CORPORATION 2711 CENTERVILLE ROAD
https://cpdocket.cp.cuyahogacounty.us/CV_CaseInformation_Docket.aspx?q=2RwWNtqWJaifCkqfmO-aVA2&isprint=Y   3/4
11/27/2017                                           Cuyahoga County Clerk of Courts - Case Docket

                             WILMINGTON, DE 19808
  10/27/2017    D2    CS     WRIT FEE
  10/27/2017    N/A   SR     SUMMONS E-FILE COPY COST
  10/27/2017    N/A   SR     SUMMONS E-FILE COPY COST
  10/27/2017    D2    SR     SUMS COMPLAINT(33652401) SENT BY FEDERAL EXPRESS. TO: PURDUE PHARMA,
                             INC. C/O PRENTICE HALL CORPORATION 2711 CENTERVILLE ROAD WILMINGTON, DE
                             19808
  10/27/2017 D1 CS WRIT FEE
  10/27/2017 D1 SR SUMS COMPLAINT(33652400) SENT BY FEDERAL EXPRESS. TO: PURDUE PHARMA,
                             L.P. C/O PRENTICE HALL CORPORATION 2711 CENTERVILLE ROAD WILMINGTON, DE
                             19808
  10/27/2017 N/A SF JUDGE SHANNON M GALLAGHER ASSIGNED (RANDOM)
  10/27/2017 P1 SF ADDITIONAL DEPOSIT FOR SERVICE, OVER 5 DEFENDANTS $70
  10/27/2017 P1 SF LEGAL RESEARCH
  10/27/2017 P1 SF LEGAL NEWS
  10/27/2017 P1 SF LEGAL AID
  10/27/2017 P1 SF COURT SPECIAL PROJECTS FUND
  10/27/2017 P1 SF COMPUTER FEE
  10/27/2017 P1 SF CLERK'S FEE
  10/27/2017 P1 SF DEPOSIT AMOUNT PAID FRANK L GALLUCCI
  10/27/2017 N/A SF CASE FILED: COMPLAINT
  Only the official court records available from the Cuyahoga County Clerk of Courts, available in person, should be relied upon
  as accurate and current.
  For questions/comments please click here.
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https://cpdocket.cp.cuyahogacounty.us/CV_CaseInformation_Docket.aspx?q=2RwWNtqWJaifCkqfmO-aVA2&isprint=Y                           4/4
SUMMONS IN A CIVIL ACTION                                     COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                CLEVELAND, OHIO 44113
                   CASE NO.                                              SUMMONS NO.
                CV17888099                          D1   FX                  33652400                                                           Rule 4 (B) Ohio

                                                                                                                                               Rules of Civil
                                                                                                                                               Procedure
                           THE      COUNTY OF            CUYAHOGA                         PLAINTIFF
                                               VS                                                                                             SUMMONS
                    PURDUE          PHARMA,          L   P.,   ET AL.                     DEFENDANT




          PURDUE PHARMA, L.P.                                                                                     You have been named defendant in a sums
          C/O PRENTICE HALL CORPORATION                                                                         complaint (copy attached hereto) filed in Cuyahoga
          2711      CENTERVILLE ROAD                                                                            County Court of Common Pleas, Cuyahoga County
          WILMINGTON DE                  19808                                                                  Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                plaintiff named herein.

                                                                                                                  You are hereby summoned and required to answer
                                                                                                                the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                 summons upon you, exclusive of the day of service.

                                                                                                                  Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                    Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                          within 3 days after service of said answer on
                                                                                                                plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                   If you fail to do so, judgment by default will be
                                                                                                                rendered against you for the relief demanded in the
                                                                                                                complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                      NAILAH K. BYRD
                                                                                                   Clerk of the Court of Common Pleas

                                                                                                                                                      ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                        By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                             Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                               33652400




CMSN130
November 1,2017

Dear Customer:

The following is the proof-of-delivery for tracking number   788238455703.

Delivery Information:
Status:                       Delivered                       Delivered to:            Mailroom
Signed for by:                T.BUDGICK                       Delivery location:       251 LITTLE FALLS DRIVE
                                                                                       WILMINGTON, DE 19808

Service type:                 FedEx Express Saver             Delivery date:           Oct 31, 2017 09:27
Special Handling:             Deliver Weekday

                              Direct Signature Required




                     1
                    ' ',
Shipping Information:
Tracking number:              788238455703                    Ship date:               Oct 27, 2017
                                                              Weight:                  4.0 lbs/1.8 kg



Recipient:                                                    Shipper:
PURDUE PHARMA, L.P.                                           CCoC
C/O PRENTICE HALL CORPORATION                                 1200 Ontario
2711 CENTERVILLE ROAD                                         Cleveland, OH 44113 US
WILMINGTON, DE 19808 US

Reference                                                     CV17888099
Invoice number                                                33652400



Thank you for choosing FedEx.




  CV17888099/ 33652400 /PURDUE PHARMA, L.P. / 2017-11-1 05:17
SUMMONS IN A CIVIL ACTION                                     COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                CLEVELAND, OHIO 44113
                   CASE NO.                                              SUMMONS NO.
                CV17888099                          D2   FX                  33652401                                                           Rule 4 (B) Ohio

                                                                                                                                               Rules of Civil
                                                                                                                                               Procedure
                           THE      COUNTY OF            CUYAHOGA                         PLAINTIFF
                                               VS                                                                                             SUMMONS
                    PURDUE          PHARMA,          L   P.,   ET AL.                     DEFENDANT




          PURDUE PHARMA, INC.                                                                                     You have been named defendant in a sums
          C/O  PRENTICE HALL CORPORATION                                                                        complaint (copy attached hereto) filed in Cuyahoga
          2711      CENTERVILLE ROAD                                                                            County Court of Common Pleas, Cuyahoga County
          WILMINGTON DE                  19808                                                                  Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                plaintiff named herein.

                                                                                                                  You are hereby summoned and required to answer
                                                                                                                the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                 summons upon you, exclusive of the day of service.

                                                                                                                  Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                    Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                          within 3 days after service of said answer on
                                                                                                                plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                   If you fail to do so, judgment by default will be
                                                                                                                rendered against you for the relief demanded in the
                                                                                                                complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                      NAILAH K. BYRD
                                                                                                   Clerk of the Court of Common Pleas

                                                                                                                                                      ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                        By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                             Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                               33652401




CMSN130
November 1,2017

Dear Customer:

The following is the proof-of-delivery for tracking number 788238456467.

Delivery Information:
Status:                     Delivered                    Delivered to:            Mailroom
Signed for by:              T.BUDGICK                    Delivery location:       251 LITTLE FALLS DRIVE
                                                                                  WILMINGTON, DE 19808
Service type:               FedEx Express Saver          Delivery date:           Oct 31, 2017 09:27
Special Handling:           Deliver Weekday

                            Direct Signature Required




                     1
                    ' ',
Shipping Information:
Tracking number:            788238456467                 Ship date:               Oct 27, 2017
                                                         Weight:                  4.0 lbs/1.8 kg



Recipient:                                               Shipper:
PURDUE PHARMA, INC.                                      CCoC
C/O PRENTICE HALL CORPORATION                            1200 Ontario
2711 CENTERVILLE ROAD                                    Cleveland, OH 44113 US
WILMINGTON, DE 19808 US
Reference                                                CV17888099
Invoice number                                           33652401


Thank you for choosing FedEx.




  CV17888099/33652401 / PURDUE PHARMA, INC. / 2017-11-1 05:18
SUMMONS IN A CIVIL ACTION                                     COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                CLEVELAND, OHIO 44113
                   CASE NO.                                              SUMMONS NO.
                CV17888099                          D3   FX                  33652402                                                           Rule 4 (B) Ohio

                                                                                                                                               Rules of Civil
                                                                                                                                               Procedure
                           THE      COUNTY OF            CUYAHOGA                         PLAINTIFF
                                               VS                                                                                             SUMMONS
                    PURDUE          PHARMA,          L   P.,   ET AL.                     DEFENDANT




          PURDUE FREDERICK COMPANY, INC.                                                                          You have been named defendant in a sums
          C/O  PRENTICE HALL CORPORATION                                                                        complaint (copy attached hereto) filed in Cuyahoga
          2711      CENTERVILLE ROAD                                                                            County Court of Common Pleas, Cuyahoga County
          WILMINGTON DE                  19808                                                                  Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                plaintiff named herein.

                                                                                                                  You are hereby summoned and required to answer
                                                                                                                the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                 summons upon you, exclusive of the day of service.

                                                                                                                  Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                    Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                          within 3 days after service of said answer on
                                                                                                                plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                   If you fail to do so, judgment by default will be
                                                                                                                rendered against you for the relief demanded in the
                                                                                                                complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                      NAILAH K. BYRD
                                                                                                   Clerk of the Court of Common Pleas

                                                                                                                                                      ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                        By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                             Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                               33652402




CMSN130
November 1,2017

Dear Customer:

The following is the proof-of-delivery for tracking number 788238456938.

Delivery Information:
Status:                     Delivered                    Delivered to:            Mailroom
Signed for by:              T.BUDGICK                    Delivery location:       251 LITTLE FALLS DRIVE
                                                                                  WILMINGTON, DE 19808
Service type:               FedEx Express Saver          Delivery date:           Oct 31, 2017 09:27
Special Handling:           Deliver Weekday

                            Direct Signature Required




                     1
                    ' ',
Shipping Information:
Tracking number:            788238456938                 Ship date:               Oct 27, 2017
                                                         Weight:                  4.0 lbs/1.8 kg



Recipient:                                               Shipper:
PURDUE FREDERICK COMPANY, INC.                           CCoC
C/O PRENTICE HALL CORPORATION                            1200 Ontario
2711 CENTERVILLE ROAD                                    Cleveland, OH 44113 US
WILMINGTON, DE 19808 US
Reference                                                CV17888099
Invoice number                                           33652402


Thank you for choosing FedEx.




  CV17888099 / 33652402 / PURDUE FREDERICK COMPANY, INC. / 2017-11-1 05:18
SUMMONS IN A CIVIL ACTION                                     COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                CLEVELAND, OHIO 44113
                   CASE NO.                                              SUMMONS NO.
                CV17888099                          D6   FX                  33652405                                                           Rule 4 (B) Ohio

                                                                                                                                               Rules of Civil
                                                                                                                                               Procedure
                           THE      COUNTY OF            CUYAHOGA                         PLAINTIFF
                                               VS                                                                                             SUMMONS
                    PURDUE          PHARMA,          L   P.,   ET AL.                     DEFENDANT




          JOHNSON & JOHNSON                                                                                       You have been named defendant in a sums
          ONE     JOHNSON &              JOHNSON PLAZA                                                          complaint (copy attached hereto) filed in Cuyahoga
          NEW BRUNSWICK NJ                     08933                                                            County Court of Common Pleas, Cuyahoga County
                                                                                                                Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                plaintiff named herein.

                                                                                                                  You are hereby summoned and required to answer
                                                                                                                the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                 summons upon you, exclusive of the day of service.

                                                                                                                  Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                    Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                          within 3 days after service of said answer on
                                                                                                                plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                   If you fail to do so, judgment by default will be
                                                                                                                rendered against you for the relief demanded in the
                                                                                                                complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                      NAILAH K. BYRD
                                                                                                   Clerk of the Court of Common Pleas

                                                                                                                                                      ■$54 COU^
                     DATE SENT
            Oct 27, 2017                                        By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                             Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                               33652405




CMSN130
November 2,2017

Dear Customer:

The following is the proof-of-delivery for tracking number   788238457923.

Delivery Information:
Status:                       Delivered                       Delivered to:            Shipping/Receiving
Signed for by:                M.MAQTIN RIZZI                  Delivery location:       1 JOHNSON AND
                                                                                       JOHNSON PLZ
                                                                                       NEW BRUNSWICK, NJ
                                                                                       08933

Service type:                 FedEx Express Saver             Delivery date:           Nov 1,2017 09:14
Special Handling:             Deliver Weekday

                              Direct Signature Required




Shipping Information:
Tracking number:              788238457923                    Ship date:               Oct 27,2017
                                                              Weight:                  4.0 lbs/1.8 kg



Recipient:                                                    Shipper:
JOHNSON & JOHNSON                                             CCoC
ONE JOHNSON & JOHNSON PLAZA                                   1200 Ontario
NEW BRUNSWICK, NJ 08933 US                                    Cleveland, OH 44113 US

Reference                                                     CV17888099
invoice number                                                33652405



Thank you for choosing FedEx.




  CV17888099 / 33652405 / JOHNSON & JOHNSON / 2017-11-2 05:18
SUMMONS IN A CIVIL ACTION                                     COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                 CLEVELAND, OHIO 44113
                   CASE NO.                                               SUMMONS NO.
                CV17888099                          D7   FX                   33652406                                                           Rule 4 (B) Ohio

                                                                                                                                                Rules of Civil
                                                                                                                                                Procedure
                           THE      COUNTY OF            CUYAHOGA                          PLAINTIFF
                                               VS                                                                                              SUMMONS
                    PURDUE          PHARMA,          L   P.,    ET AL.                     DEFENDANT




          JANSSEN PHARMACEUTICALS,                             INC.                                                You have been named defendant in a sums
          116     PINE       STREET,           SUITE      320                                                    complaint (copy attached hereto) filed in Cuyahoga
          HARRISBURG              PA     17101                                                                   County Court of Common Pleas, Cuyahoga County
                                                                                                                 Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                 plaintiff named herein.

                                                                                                                   You are hereby summoned and required to answer
                                                                                                                 the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                  summons upon you, exclusive of the day of service.

                                                                                                                   Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                     Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                 Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                           within 3 days after service of said answer on
                                                                                                                 plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                    If you fail to do so, judgment by default will be
                                                                                                                 rendered against you for the relief demanded in the
                                                                                                                 complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                       NAILAH K. BYRD
                                                                                                    Clerk of the Court of Common Pleas

                                                                                                                                                       ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                              Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                33652406




CMSN130
November 2,2017

Dear Customer:

The following is the proof-of-delivery for tracking number 788238458150.

Delivery Information:
Status:                     Delivered                    Delivered to:            Receptionist/Front Desk
Signed for by:              D.KRESGE                     Delivery location:       600 N 2ND ST
                                                                                  HARRISBURG, PA 17101
Service type:               FedEx Express Saver          Delivery date:           Nov 1, 2017 10:07
Special Handling:           Deliver Weekday

                            Direct Signature Required




Shipping Information:
Tracking number:            788238458150                 Ship date:               Oct 27, 2017
                                                         Weight:                  4.0 lbs/1.8 kg



Recipient:                                               Shipper:
JANSSEN PHARMACEUTICALS, INC.                            CCoC
116 PINE STREET, SUITE 320                                1200 Ontario
HARRISBURG, PA 17101 US                                  Cleveland, OH 44113 US

Reference                                                CV17888099
Invoice number                                           33652406


Thank you for choosing FedEx.




  CV17888099 / 33652406 / JANSSEN PHARMACEUTICALS, INC. / 2017-11-2 05:18
SUMMONS IN A CIVIL ACTION                                     COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                 CLEVELAND, OHIO 44113
                   CASE NO.                                               SUMMONS NO.
                CV17888099                          D8   FX                   33652407                                                           Rule 4 (B) Ohio

                                                                                                                                                Rules of Civil
                                                                                                                                                Procedure
                           THE      COUNTY OF            CUYAHOGA                          PLAINTIFF
                                               VS                                                                                              SUMMONS
                    PURDUE          PHARMA,          L   P.,    ET AL.                     DEFENDANT




          ORTHO-MCNEIL-JANSSEN                                                                                     You have been named defendant in a sums
          PHARMACEUTICALS, INC.                                                                                  complaint (copy attached hereto) filed in Cuyahoga
          N/K/A  JANSSEN PHARMACEUTICALS,                                   INC.                                 County Court of Common Pleas, Cuyahoga County
          116     PINE       STREET,           SUITE      320                                                    Justice Center, Cleveland, Ohio 44113, by the
          HARRISBURG              PA     17101                                                                   plaintiff named herein.

                                                                                                                   You are hereby summoned and required to answer
                                                                                                                 the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                  summons upon you, exclusive of the day of service.

                                                                                                                   Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                     Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                 Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                           within 3 days after service of said answer on
                                                                                                                 plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                    If you fail to do so, judgment by default will be
                                                                                                                 rendered against you for the relief demanded in the
                                                                                                                 complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                       NAILAH K. BYRD
                                                                                                    Clerk of the Court of Common Pleas

                                                                                                                                                       ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                              Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                33652407




CMSN130
November 2,2017

Dear Customer:

The following is the proof-of-delivery for tracking number   788238458562.

Delivery Information:
Status:                       Delivered                       Delivered to:            Receptionist/Front Desk
Signed for by:                D.KRESGE                        Delivery location:       600 N 2ND ST
                                                                                       HARRISBURG, PA 17101

Service type:                 FedEx Express Saver             Delivery date:           Nov 1, 2017 10:07
Special Handling:             Deliver Weekday

                              Direct Signature Required




Shipping Information:
Tracking number:              788238458562                    Ship date:               Oct 27, 2017
                                                              Weight:                  3.0 lbs/1.4 kg



Recipient:                                                    Shipper:
ORTHO-MCNEIL-JANSSEN PHARMACEUTICAL                           CCoC
N/K/A JANSSEN PHARMACEUTICALS, INC                            1200 Ontario
116 PINE STREET, SUITE 320                                    Cleveland, OH 44113 US
HARRISBURG, PA 17101 US

Reference                                                     CV17888099
Invoice number                                                33652407



Thank you for choosing FedEx.




  CV17888099 / 33652407 / ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC. / 2017-11-2 05:18
SUMMONS IN A CIVIL ACTION                                     COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                 CLEVELAND, OHIO 44113
                   CASE NO.                                               SUMMONS NO.
                CV17888099                          D9   FX                   33652408                                                           Rule 4 (B) Ohio

                                                                                                                                                Rules of Civil
                                                                                                                                                Procedure
                           THE      COUNTY OF            CUYAHOGA                          PLAINTIFF
                                               VS                                                                                              SUMMONS
                    PURDUE          PHARMA,          L   P.,    ET AL.                     DEFENDANT




          JANSSEN PHARMACEUTICA, INC.                                                                              You have been named defendant in a sums
          N/K/A JANSSEN PHARMACEUTICALS,                                  INC.                                   complaint (copy attached hereto) filed in Cuyahoga
          116     PINE       STREET,           SUITE      320                                                    County Court of Common Pleas, Cuyahoga County
          HARRISBURG              PA     17101                                                                   Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                 plaintiff named herein.

                                                                                                                   You are hereby summoned and required to answer
                                                                                                                 the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                  summons upon you, exclusive of the day of service.

                                                                                                                   Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                     Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                 Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                           within 3 days after service of said answer on
                                                                                                                 plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                    If you fail to do so, judgment by default will be
                                                                                                                 rendered against you for the relief demanded in the
                                                                                                                 complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                       NAILAH K. BYRD
                                                                                                    Clerk of the Court of Common Pleas

                                                                                                                                                       ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                              Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                33652408




CMSN130
November 2,2017

Dear Customer:

The following is the proof-of-delivery for tracking number   788238458415.

Delivery Information:
Status:                       Delivered                       Delivered to:            Receptionist/Front Desk
Signed for by:                D.KRESGE                        Delivery location:       600 N 2ND ST
                                                                                       HARRISBURG, PA 17101

Service type:                 FedEx Express Saver             Delivery date:           Nov 1, 2017 10:07
Special Handling:             Deliver Weekday

                              Direct Signature Required




Shipping Information:
Tracking number:              788238458415                    Ship date:               Oct 27, 2017
                                                              Weight:                  4.0 lbs/1.8 kg



Recipient:                                                    Shipper:
JANSSEN PHARMACEUTICA, INC.                                   CCoC
N/K/A JANSSEN PHARMACEUTICALS, INC.                           1200 Ontario
116 PINE STREET, SUITE 320                                    Cleveland, OH 44113 US
HARRISBURG, PA 17101 US

Reference                                                     CV17888099
Invoice number                                                33652408



Thank you for choosing FedEx.




  CV17888099 / 33652408 / JANSSEN PHARMACEUTICA, INC. / 2017-11-2 05:18
SUMMONS IN A CIVIL ACTION                                   COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                 CLEVELAND, OHIO 44113
                   CASE NO.                                               SUMMONS NO.
                CV17888099                          D10    FX                 33652409                                                           Rule 4 (B) Ohio

                                                                                                                                                Rules of Civil
                                                                                                                                                Procedure
                           THE      COUNTY OF             CUYAHOGA                         PLAINTIFF
                                               VS                                                                                              SUMMONS
                    PURDUE          PHARMA,          L    P.,   ET AL.                     DEFENDANT




          ENDO PHARMACEUTICALS, INC.                                                                               You have been named defendant in a sums
          C/O  CORPORATION TRUST CO.                                                                             complaint (copy attached hereto) filed in Cuyahoga
          1209      ORANGE          STREET                                                                       County Court of Common Pleas, Cuyahoga County
          WILMINGTON DE                  19801                                                                   Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                 plaintiff named herein.

                                                                                                                   You are hereby summoned and required to answer
                                                                                                                 the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                  summons upon you, exclusive of the day of service.

                                                                                                                   Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                     Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                 Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                           within 3 days after service of said answer on
                                                                                                                 plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                    If you fail to do so, judgment by default will be
                                                                                                                 rendered against you for the relief demanded in the
                                                                                                                 complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                       NAILAH K. BYRD
                                                                                                    Clerk of the Court of Common Pleas

                                                                                                                                                       ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                              Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                33652409




CMSN130
November 1,2017

Dear Customer:

The following is the proof-of-delivery for tracking number 788238459569.

Delivery Information:
Status:                     Delivered                    Delivered to:            Receptionist/Front Desk
Signed for by:              A.RICE                       Delivery location:       1209 N ORANGE ST
                                                                                   WILMINGTON, DE 19801
Service type:               FedEx Express Saver          Delivery date:           Oct 31, 2017 11:11
Special Handling:            Deliver Weekday

                            Direct Signature Required




Shipping Information:
Tracking number:            788238459569                 Ship date:               Oct 27, 2017
                                                         Weight:                  4.0 lbs/1.8 kg



Recipient:                                               Shipper:
ENDO PHARMACEUTICALS, INC.                               CCoC
C/O CORPORATION TRUST CO.                                1200 Ontario
1209 ORANGE STREET                                       Cleveland, OH 44113 US
WILMINGTON, DE 19801 US
Reference                                                CV17888099
Invoice number                                           33652409


Thank you for choosing FedEx.




  CV17888099/33652409/ENDO PHARMACEUTICALS, INC. / 2017-11-1 05:18
SUMMONS IN A CIVIL ACTION                                   COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                  CLEVELAND, OHIO 44113
                   CASE NO.                                                SUMMONS NO.
                CV17888099                          Dll    FX                  33652410                                                           Rule 4 (B) Ohio

                                                                                                                                                 Rules of Civil
                                                                                                                                                 Procedure
                           THE      COUNTY OF             CUYAHOGA                          PLAINTIFF
                                               VS                                                                                               SUMMONS
                    PURDUE          PHARMA,          L    P.,    ET AL.                     DEFENDANT




          ALLERGAN PLC                                                                                              You have been named defendant in a sums
          F/K/A  ACTAVIS                   PLC                                                                    complaint (copy attached hereto) filed in Cuyahoga
          C/O CT           CORPORATION               SYSTEM                                                       County Court of Common Pleas, Cuyahoga County
          4400      EASTON COMMONS                   WAY,       SUITE      125                                    Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                  plaintiff named herein.
          COLUMBUS           OH 43215
                                                                                                                    You are hereby summoned and required to answer
                                                                                                                  the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                   summons upon you, exclusive of the day of service.

                                                                                                                    Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                      Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                  Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                            within 3 days after service of said answer on
                                                                                                                  plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                     If you fail to do so, judgment by default will be
                                                                                                                  rendered against you for the relief demanded in the
                                                                                                                  complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                        NAILAH K. BYRD
                                                                                                     Clerk of the Court of Common Pleas

                                                                                                                                                        ■$54 COU^
                     DATE SENT
            Oct 27, 2017                                          By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                               Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                 33652410




CMSN130
November 2,2017

Dear Customer:

The following is the proof-of-delivery for tracking number   788238459628.

Delivery Information:
Status:                       Delivered                       Delivered to:            Receptionist/Front Desk
Signed for by:                S.SULLENGER                     Delivery location:       4400 EASTON CMNS 125
                                                                                       COLUMBUS, OH 43215

Service type:                 FedEx Express Saver             Delivery date:           Nov 1,2017 09:17
Special Handling:             Deliver Weekday

                              Direct Signature Required




Shipping Information:
Tracking number:              788238459628                    Ship date:               Oct 27, 2017
                                                              Weight:                  4.0 lbs/1.8 kg



Recipient:                                                    Shipper:
ALLERGAN PLC                                                  CCoC
F/K/A ACTAVIS PLC                                             1200 Ontario
CIO CT   CORPORATION SYSTEM                                   Cleveland, OH 44113 US
4400 EASTON COMMONS WAY, SUITE 125
COLUMBUS, OH 43215 US
Reference                                                     CV17888099
Invoice number                                                33652410



Thank you for choosing FedEx.




  CV17888099 / 33652410 / ALLERGAN PLC / 2017-11-2 05:18
SUMMONS IN A CIVIL ACTION                                   COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                 CLEVELAND, OHIO 44113
                   CASE NO.                                               SUMMONS NO.
                CV17888099                          D12    FX                 33652411                                                           Rule 4 (B) Ohio

                                                                                                                                                Rules of Civil
                                                                                                                                                Procedure
                           THE      COUNTY OF             CUYAHOGA                         PLAINTIFF
                                               VS                                                                                              SUMMONS
                    PURDUE          PHARMA,          L    P.,   ET AL.                     DEFENDANT




          ACTAVIS, INC.                                                                                            You have been named defendant in a sums
          F/K/A  WATSON PHARMACEUTICALS,                                  INC.                                   complaint (copy attached hereto) filed in Cuyahoga
          C/O CORP.             CREATIONS NETWORK,                   INC.                                        County Court of Common Pleas, Cuyahoga County
          119     E.     COURT        STREET                                                                     Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                 plaintiff named herein.
          CINCINNATI              OH 45202
                                                                                                                   You are hereby summoned and required to answer
                                                                                                                 the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                  summons upon you, exclusive of the day of service.

                                                                                                                   Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                     Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                 Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                           within 3 days after service of said answer on
                                                                                                                 plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                    If you fail to do so, judgment by default will be
                                                                                                                 rendered against you for the relief demanded in the
                                                                                                                 complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                       NAILAH K. BYRD
                                                                                                    Clerk of the Court of Common Pleas

                                                                                                                                                       ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                              Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                33652411




CMSN130
November 1,2017

Dear Customer:

The following is the proof-of-delivery for tracking number 788238459856.

Delivery Information:
Status:                     Delivered                     Delivered to:            Receptionist/Front Desk
Signed for by:              J.KALUTI                      Delivery location:       CO CORP CREATIONS
                                                                                   NETWORK I
                                                                                   CINCINNATI, OH 45202
Service type:               FedEx Express Saver           Delivery date:           Oct 31, 2017 10:03
Spedal Handling:            Deliver Weekday

                            Direct Signature Required




Shipping Information:
Tracking number:            788238459856                  Ship date:               Oct 27, 2017
                                                          Weight:                  4.0 lbs/1.8 kg



Recipient:                                                Shipper:
ACTAVIS, INC.                                             CCoC
F/K/A WATSON PHARMACEUTICALS, INC.                        1200 Ontario
C/O CORP. CREATIONS NETWORK, INC.                         Cleveland, OH 44113 US
119 E. COURT STREET
CINCINNATI, OH 45202 US
Reference                                                 CV17888099
Invoice number                                            33652411


Thank you for choosing FedEx.




  CV17888099/33652411 / ACTAVIS, INC. / 2017-11-1 05:18
SUMMONS IN A CIVIL ACTION                                   COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                 CLEVELAND, OHIO 44113
                   CASE NO.                                               SUMMONS NO.
                CV17888099                          D13    FX                 33652412                                                           Rule 4 (B) Ohio

                                                                                                                                                Rules of Civil
                                                                                                                                                Procedure
                           THE      COUNTY OF             CUYAHOGA                         PLAINTIFF
                                               VS                                                                                              SUMMONS
                    PURDUE          PHARMA,          L    P.,   ET AL.                     DEFENDANT




          WATSON LABORATORIES, INC.                                                                                You have been named defendant in a sums
          C/O CORP. CREATIONS NETWORK,                               INC.                                        complaint (copy attached hereto) filed in Cuyahoga
          119     E.     COURT        STREET                                                                     County Court of Common Pleas, Cuyahoga County
          CINCINNATI              OH 45202                                                                       Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                 plaintiff named herein.

                                                                                                                   You are hereby summoned and required to answer
                                                                                                                 the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                  summons upon you, exclusive of the day of service.

                                                                                                                   Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                     Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                 Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                           within 3 days after service of said answer on
                                                                                                                 plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                    If you fail to do so, judgment by default will be
                                                                                                                 rendered against you for the relief demanded in the
                                                                                                                 complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                       NAILAH K. BYRD
                                                                                                    Clerk of the Court of Common Pleas

                                                                                                                                                       ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                              Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                33652412




CMSN130
November 1,2017

Dear Customer:

The following is the proof-of-delivery for tracking number   788238460507.

Delivery Information:
Status:                       Delivered                       Delivered to:            Receptionist/Front Desk
Signed for by:                J.KALUTI                        Delivery location:       CO CORP CREATIONS
                                                                                       NETWORK I
                                                                                       CINCINNATI, OH 45202

Service type:                 FedEx Express Saver             Delivery date:           Oct 31, 2017 10:03
Spedal Handling:              Deliver Weekday

                              Direct Signature Required




Shipping Information:
Tracking number:              788238460507                    Ship date:               Oct 27, 2017
                                                              Weight:                  4.0 lbs/1.8 kg



Recipient:                                                    Shipper:
WATSON LABORATORIES, INC.                                     CCoC
C/O CORP. CREATIONS NETWORK, INC.                             1200 Ontario
119 E. COURT STREET                                           Cleveland, OH 44113 US
CINCINNATI, OH 45202 US

Reference                                                     CV17888099
Invoice number                                                33652412



Thank you for choosing FedEx.




  CV17888099 / 33652412 / WATSON LABORATORIES, INC. / 2017-11-1 05:18
SUMMONS IN A CIVIL ACTION                                   COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                 CLEVELAND, OHIO 44113
                   CASE NO.                                               SUMMONS NO.
                CV17888099                          D14    FX                 33652413                                                           Rule 4 (B) Ohio

                                                                                                                                                Rules of Civil
                                                                                                                                                Procedure
                           THE      COUNTY OF             CUYAHOGA                         PLAINTIFF
                                               VS                                                                                              SUMMONS
                    PURDUE          PHARMA,          L    P.,   ET AL.                     DEFENDANT




          ACTAVIS, LLC.                                                                                            You have been named defendant in a sums
          C/O CORP. CREATIONS NETWORK,                               INC.                                        complaint (copy attached hereto) filed in Cuyahoga
          119     E.     COURT        STREET                                                                     County Court of Common Pleas, Cuyahoga County
          CINCINNATI              OH 45202                                                                       Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                 plaintiff named herein.

                                                                                                                   You are hereby summoned and required to answer
                                                                                                                 the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                  summons upon you, exclusive of the day of service.

                                                                                                                   Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                     Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                 Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                           within 3 days after service of said answer on
                                                                                                                 plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                    If you fail to do so, judgment by default will be
                                                                                                                 rendered against you for the relief demanded in the
                                                                                                                 complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                       NAILAH K. BYRD
                                                                                                    Clerk of the Court of Common Pleas

                                                                                                                                                       ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                              Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                33652413




CMSN130
November 1,2017

Dear Customer:

The following is the proof-of-delivery for tracking number   788238461010.

Delivery Information:
Status:                       Delivered                       Delivered to:            Receptionist/Front Desk
Signed for by:                J.KALUTI                        Delivery location:       CO CORP CREATIONS
                                                                                       NETWORK I
                                                                                       CINCINNATI, OH 45202

Service type:                 FedEx Express Saver             Delivery date:           Oct 31, 2017 10:03
Spedal Handling:              Deliver Weekday

                              Direct Signature Required




Shipping Information:
Tracking number:              788238461010                    Ship date:               Oct 27, 2017
                                                              Weight:                  0.5 lbs/0.2 kg



Recipient:                                                    Shipper:
ACTAVIS, LLC.                                                 CCoC
C/O CORP. CREATIONS NETWORK, INC.                             1200 Ontario
119 E. COURT STREET                                           Cleveland, OH 44113 US
CINCINNATI, OH 45202 US

Reference                                                     CV17888099
Invoice number                                                33652413



Thank you for choosing FedEx.




  CV17888099/33652413/ACTAVIS, LLC. / 2017-11-1 05:18
SUMMONS IN A CIVIL ACTION                                   COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                  CLEVELAND, OHIO 44113
                   CASE NO.                                                SUMMONS NO.
                CV17888099                          D15    FX                  33652414                                                           Rule 4 (B) Ohio

                                                                                                                                                 Rules of Civil
                                                                                                                                                 Procedure
                           THE      COUNTY OF             CUYAHOGA                          PLAINTIFF
                                               VS                                                                                               SUMMONS
                    PURDUE          PHARMA,          L    P.,    ET AL.                     DEFENDANT




          ACTAVIS PHARMA, INC.                                                                                      You have been named defendant in a sums
          F/K/A  WATSON PHARMA,                           INC.                                                    complaint (copy attached hereto) filed in Cuyahoga
          C/O CORP.             CREATIONS NETWORK,                    INC.                                        County Court of Common Pleas, Cuyahoga County
          119     E.     COURT        STREET                                                                      Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                  plaintiff named herein.
          CINCINNATI              OH 45202
                                                                                                                    You are hereby summoned and required to answer
                                                                                                                  the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                   summons upon you, exclusive of the day of service.

                                                                                                                    Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                      Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                  Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                            within 3 days after service of said answer on
                                                                                                                  plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                     If you fail to do so, judgment by default will be
                                                                                                                  rendered against you for the relief demanded in the
                                                                                                                  complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                        NAILAH K. BYRD
                                                                                                     Clerk of the Court of Common Pleas

                                                                                                                                                        ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                          By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                               Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                 33652414




CMSN130
November 1,2017

Dear Customer:

The following is the proof-of-delivery for tracking number 788238460974.

Delivery Information:
Status:                     Delivered                    Delivered to:            Receptionist/Front Desk
Signed for by:              J.KALUTI                     Delivery location:       CO CORP CREATIONS
                                                                                  NETWORK I
                                                                                  CINCINNATI, OH 45202
Service type:               FedEx Express Saver          Delivery date:           Oct 31, 2017 10:03
Spedal Handling:            Deliver Weekday

                            Direct Signature Required




Shipping Information:
Tracking number:            788238460974                 Ship date:               Oct 27, 2017
                                                         Weight:                  4.0 lbs/1.8 kg



Recipient:                                               Shipper:
ACTAVIS PHARMA, INC.                                     CCoC
F/K/A WATSON PHARMA, INC.                                1200 Ontario
C/O CORP. CREATIONS NETWORK, INC.                        Cleveland, OH 44113 US
119 E. COURT STREET
CINCINNATI, OH 45202 US
Reference                                                CV17888099
Invoice number                                           33652414


Thank you for choosing FedEx.




  CV17888099 / 33652414 / ACTAVIS PHARMA, INC. / 2017-11-1 05:18
SUMMONS IN A CIVIL ACTION                                   COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                 CLEVELAND, OHIO 44113
                   CASE NO.                                               SUMMONS NO.
                CV17888099                          D16    FX                 33652415                                                           Rule 4 (B) Ohio

                                                                                                                                                Rules of Civil
                                                                                                                                                Procedure
                           THE      COUNTY OF             CUYAHOGA                         PLAINTIFF
                                               VS                                                                                              SUMMONS
                    PURDUE          PHARMA,          L    P.,   ET AL.                     DEFENDANT




          ENDO HEALTH SOLUTIONS, INC.                                                                              You have been named defendant in a sums
          C/O  CORPORATION TRUST CO.                                                                             complaint (copy attached hereto) filed in Cuyahoga
          1209      ORANGE          STREET                                                                       County Court of Common Pleas, Cuyahoga County
          WILMINGTON DE                  19801                                                                   Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                 plaintiff named herein.

                                                                                                                   You are hereby summoned and required to answer
                                                                                                                 the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                  summons upon you, exclusive of the day of service.

                                                                                                                   Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                     Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                 Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                           within 3 days after service of said answer on
                                                                                                                 plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                    If you fail to do so, judgment by default will be
                                                                                                                 rendered against you for the relief demanded in the
                                                                                                                 complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                       NAILAH K. BYRD
                                                                                                    Clerk of the Court of Common Pleas

                                                                                                                                                       ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                              Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                33652415




CMSN130
November 1,2017

Dear Customer:

The following is the proof-of-delivery for tracking number 788238460665.

Delivery Information:
Status:                     Delivered                    Delivered to:            Receptionist/Front Desk
Signed for by:              A.RICE                       Delivery location:       1209 N ORANGE ST
                                                                                   WILMINGTON, DE 19801
Service type:               FedEx Express Saver          Delivery date:           Oct 31, 2017 11:11
Special Handling:            Deliver Weekday

                            Direct Signature Required




Shipping Information:
Tracking number:            788238460665                 Ship date:               Oct 27, 2017
                                                         Weight:                  0.5 lbs/0.2 kg



Recipient:                                               Shipper:
ENDO HEALTH SOLUTIONS, INC.                              CCoC
C/O CORPORATION TRUST CO.                                1200 Ontario
1209 ORANGE STREET                                       Cleveland, OH 44113 US
WILMINGTON, DE 19801 US
Reference                                                CV17888099
Invoice number                                           33652415


Thank you for choosing FedEx.




  CV17888099/33652415/ENDO HEALTH SOLUTIONS, INC. / 2017-11-1 05:18
SUMMONS IN A CIVIL ACTION                                   COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                 CLEVELAND, OHIO 44113
                   CASE NO.                                               SUMMONS NO.
                CV17888099                          D17    FX                 33652416                                                           Rule 4 (B) Ohio

                                                                                                                                                Rules of Civil
                                                                                                                                                Procedure
                           THE      COUNTY OF             CUYAHOGA                         PLAINTIFF
                                               VS                                                                                              SUMMONS
                    PURDUE          PHARMA,          L    P.,   ET AL.                     DEFENDANT




          INSYS THERAPEUTICS, INC.                                                                                 You have been named defendant in a sums
          1333 S. SPECTRUM BLVD., #100                                                                           complaint (copy attached hereto) filed in Cuyahoga
          CHANDLER AZ               85286                                                                        County Court of Common Pleas, Cuyahoga County
                                                                                                                 Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                 plaintiff named herein.

                                                                                                                   You are hereby summoned and required to answer
                                                                                                                 the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                  summons upon you, exclusive of the day of service.

                                                                                                                   Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                     Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                 Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                           within 3 days after service of said answer on
                                                                                                                 plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                    If you fail to do so, judgment by default will be
                                                                                                                 rendered against you for the relief demanded in the
                                                                                                                 complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                       NAILAH K. BYRD
                                                                                                    Clerk of the Court of Common Pleas

                                                                                                                                                       ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                              Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                33652416




CMSN130
November 1,2017

Dear Customer:

The following is the proof-of-delivery for tracking number   788238461775.

Delivery Information:
Status:                       Delivered                       Delivered to:            Receptionist/Front Desk
Signed for by:                L.WEBB                          Delivery location:       1333 S SPECTRUM BLVD
                                                                                       100
                                                                                       CHANDLER, AZ 85286

Service type:                 FedEx Express Saver             Delivery date:           Oct 31, 2017 09:03
Spedal Handling:              Deliver Weekday

                              Direct Signature Required




Shipping Information:
Tracking number:              788238461775                    Ship date:               Oct 27,2017
                                                              Weight:                  3.0 lbs/1.4 kg



Recipient:                                                    Shipper:
INSYS THERAPEUTICS, INC.                                      CCoC
1333 S. SPECTRUM BLVD., #100                                  1200 Ontario
CHANDLER, AZ 85286 US                                         Cleveland, OH 44113 US

Reference                                                     CV17888099
Invoice number                                                33652416



Thank you for choosing FedEx.




  CV17888099 / 33652416 / INSYS THERAPEUTICS, INC. / 2017-11-1 05:18
SUMMONS IN A CIVIL ACTION                                   COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                  CLEVELAND, OHIO 44113
                   CASE NO.                                                SUMMONS NO.
                CV17888099                          D18    FX                  33652417                                                           Rule 4 (B) Ohio

                                                                                                                                                 Rules of Civil
                                                                                                                                                 Procedure
                           THE      COUNTY OF             CUYAHOGA                          PLAINTIFF
                                               VS                                                                                               SUMMONS
                    PURDUE          PHARMA,          L    P.,   ET AL.                      DEFENDANT




          MCKESSON CORPORATION                                                                                      You have been named defendant in a sums
          50    WEST BROAD               STREET,          SUITE     1330                                          complaint (copy attached hereto) filed in Cuyahoga
          COLUMBUS OH 43215                                                                                       County Court of Common Pleas, Cuyahoga County
                                                                                                                  Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                  plaintiff named herein.

                                                                                                                    You are hereby summoned and required to answer
                                                                                                                  the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                   summons upon you, exclusive of the day of service.

                                                                                                                    Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                      Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                  Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                            within 3 days after service of said answer on
                                                                                                                  plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                     If you fail to do so, judgment by default will be
                                                                                                                  rendered against you for the relief demanded in the
                                                                                                                  complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                        NAILAH K. BYRD
                                                                                                     Clerk of the Court of Common Pleas

                                                                                                                                                        ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                          By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                               Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                 33652417




CMSN130
November 2,2017

Dear Customer:

The following is the proof-of-delivery for tracking number 788238462462.

Delivery Information:
Status:                     Delivered                    Delivered to:            Receptionist/Front Desk
Signed for by:              D.SCHAUSEL                   Delivery location:       50 W BROAD ST 1330
                                                                                  COLUMBUS, OH 43215
Service type:               FedEx Express Saver          Delivery date:           Nov 1, 2017 12:04
Special Handling:           Deliver Weekday

                            Direct Signature Required




Shipping Information:
Tracking number:            788238462462                 Ship date:               Oct 27, 2017
                                                         Weight:                  4.0 lbs/1.8 kg



Recipient:                                               Shipper:
MCKESSON CORPORATION                                     CCoC
50 WEST BROAD STREET, SUITE 1330                         1200 Ontario
COLUMBUS, OH 43215 US                                    Cleveland, OH 44113 US

Reference                                                CV17888099
Invoice number                                           33652417


Thank you for choosing FedEx.




  CV17888099 / 33652417 / MCKESSON CORPORATION / 2017-11-2 05:18
SUMMONS IN A CIVIL ACTION                                   COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                 CLEVELAND, OHIO 44113
                   CASE NO.                                               SUMMONS NO.
                CV17888099                          D19    FX                 33652418                                                           Rule 4 (B) Ohio

                                                                                                                                                Rules of Civil
                                                                                                                                                Procedure
                           THE      COUNTY OF             CUYAHOGA                         PLAINTIFF
                                               VS                                                                                              SUMMONS
                    PURDUE          PHARMA,          L    P.,   ET AL.                     DEFENDANT




          CARDINAL HEALTH,                     INC.                                                                You have been named defendant in a sums
          7000      CARDINAL             PLACE                                                                   complaint (copy attached hereto) filed in Cuyahoga
          DUBLIN OH 43017                                                                                        County Court of Common Pleas, Cuyahoga County
                                                                                                                 Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                 plaintiff named herein.

                                                                                                                   You are hereby summoned and required to answer
                                                                                                                 the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                  summons upon you, exclusive of the day of service.

                                                                                                                   Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                     Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                 Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                           within 3 days after service of said answer on
                                                                                                                 plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                    If you fail to do so, judgment by default will be
                                                                                                                 rendered against you for the relief demanded in the
                                                                                                                 complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                       NAILAH K. BYRD
                                                                                                    Clerk of the Court of Common Pleas

                                                                                                                                                       ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                              Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                33652418




CMSN130
November 2,2017

Dear Customer:

The following is the proof-of-delivery for tracking number 788238461960.

Delivery Information:
Status:                     Delivered                    Delivered to:            Shipping/Receiving
Signed for by:              D.SMITH                      Delivery location:       7000 CARDINAL PL
                                                                                   DUBLIN, OH 43017
Service type:               FedEx Express Saver          Delivery date:           Nov 1, 2017 09:10
Special Handling:           Deliver Weekday

                            Direct Signature Required




Shipping Information:
Tracking number:            788238461960                 Ship date:               Oct 27, 2017
                                                         Weight:                  4.0 lbs/1.8 kg



Recipient:                                               Shipper:
CARDINAL HEALTH, INC.                                    CCoC
7000 CARDINAL PLACE                                      1200 Ontario
DUBLIN, OH 43017 US                                      Cleveland, OH 44113 US

Reference                                                CV17888099
Invoice number                                           33652418


Thank you for choosing FedEx.




  CV17888099 / 33652418 / CARDINAL HEALTH, INC. / 2017-11-2 05:18
SUMMONS IN A CIVIL ACTION                                   COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                 CLEVELAND, OHIO 44113
                   CASE NO.                                               SUMMONS NO.
                CV17888099                          D20    FX                 33652419                                                           Rule 4 (B) Ohio

                                                                                                                                                Rules of Civil
                                                                                                                                                Procedure
                           THE      COUNTY OF             CUYAHOGA                         PLAINTIFF
                                               VS                                                                                              SUMMONS
                    PURDUE          PHARMA,          L    P.,   ET AL.                     DEFENDANT




          AMERISOURCEBERGEN CORPORATION                                                                            You have been named defendant in a sums
          1300      EAST NINTH               STREET                                                              complaint (copy attached hereto) filed in Cuyahoga
          CLEVELAND            OH 44114                                                                          County Court of Common Pleas, Cuyahoga County
                                                                                                                 Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                 plaintiff named herein.

                                                                                                                   You are hereby summoned and required to answer
                                                                                                                 the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                  summons upon you, exclusive of the day of service.

                                                                                                                   Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                     Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                 Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                           within 3 days after service of said answer on
                                                                                                                 plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                    If you fail to do so, judgment by default will be
                                                                                                                 rendered against you for the relief demanded in the
                                                                                                                 complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                       NAILAH K. BYRD
                                                                                                    Clerk of the Court of Common Pleas

                                                                                                                                                       ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                              Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                33652419




CMSN130
SUMMONS IN A CIVIL ACTION                                   COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                 CLEVELAND, OHIO 44113
                   CASE NO.                                               SUMMONS NO.
                CV17888099                          D21    FX                 33652420                                                           Rule 4 (B) Ohio

                                                                                                                                                Rules of Civil
                                                                                                                                                Procedure
                           THE      COUNTY OF             CUYAHOGA                         PLAINTIFF
                                               VS                                                                                              SUMMONS
                    PURDUE          PHARMA,          L    P.,   ET AL.                     DEFENDANT




          RUSSELL          PORTENOY                                                                                You have been named defendant in a sums
          39    BROADWAY,             1ST      FLOOR                                                             complaint (copy attached hereto) filed in Cuyahoga
          NEW YORK NY               10006                                                                        County Court of Common Pleas, Cuyahoga County
                                                                                                                 Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                 plaintiff named herein.

                                                                                                                   You are hereby summoned and required to answer
                                                                                                                 the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                  summons upon you, exclusive of the day of service.

                                                                                                                   Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                     Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                 Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                           within 3 days after service of said answer on
                                                                                                                 plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                    If you fail to do so, judgment by default will be
                                                                                                                 rendered against you for the relief demanded in the
                                                                                                                 complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                       NAILAH K. BYRD
                                                                                                    Clerk of the Court of Common Pleas

                                                                                                                                                       ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                              Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                33652420




CMSN130
November 1,2017

Dear Customer:

The following is the proof-of-delivery for tracking number   788238463105.

Delivery Information:
Status:                       Delivered                       Delivered to:            Receptionist/Front Desk
Signed for by:                S.DAVISON                       Delivery location:       39 BROADWAY 1ST
                                                                                       FLOOR
                                                                                       NEW YORK, NY 10006

Service type:                 FedEx Express Saver             Delivery date:           Oct 31, 2017 14:14
Spedal Handling:              Deliver Weekday

                              Residential Delivery

                              Direct Signature Required




Shipping Information:
Tracking number:              788238463105                    Ship date:               Oct 27, 2017
                                                              Weight:                  3.0 lbs/1.4 kg



Recipient:                                                    Shipper:
RUSSELL PORTENOY                                              CCoC
39 BROADWAY, 1ST FLOOR                                        1200 Ontario
NEW YORK, NY 10006 US                                         Cleveland, OH 44113 US

Reference                                                     CV17888099
Invoice number                                                33652420



Thank you for choosing FedEx.




  CV17888099 / 33652420 / PORTENOY/RUSSELL// 2017-11-1 05:18
SUMMONS IN A CIVIL ACTION                                   COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                  CLEVELAND, OHIO 44113
                   CASE NO.                                                SUMMONS NO.
                CV17888099                          D22    FX                  33652421                                                           Rule 4 (B) Ohio

                                                                                                                                                 Rules of Civil
                                                                                                                                                 Procedure
                           THE      COUNTY OF             CUYAHOGA                          PLAINTIFF
                                               VS                                                                                               SUMMONS
                    PURDUE          PHARMA,          L    P.,    ET AL.                     DEFENDANT




          PERRY FINE                                                                                                You have been named defendant in a sums
          615 ARAPEEN WAY,                     SUITE       155                                                    complaint (copy attached hereto) filed in Cuyahoga
          SALT LAKE             COUNTY UT            84132                                                        County Court of Common Pleas, Cuyahoga County
                                                                                                                  Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                  plaintiff named herein.

                                                                                                                    You are hereby summoned and required to answer
                                                                                                                  the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                   summons upon you, exclusive of the day of service.

                                                                                                                    Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                      Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                  Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                            within 3 days after service of said answer on
                                                                                                                  plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                     If you fail to do so, judgment by default will be
                                                                                                                  rendered against you for the relief demanded in the
                                                                                                                  complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                        NAILAH K. BYRD
                                                                                                     Clerk of the Court of Common Pleas

                                                                                                                                                        ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                          By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                               Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                 33652421




CMSN130
November 11,2017

Dear Customer:

The following is the proof-of-delivery for tracking number 788238463403.

Delivery Information:
Status:                     Delivered                      Delivered to:            Receptionist/Front Desk
Signed for by:              M.MONOGAMITS                   Delivery location:       615 S ARAPEEN DR
                                                                                    SALT LAKE COUNTY, UT
                                                                                    84132
Service type:               FedEx Express Saver            Delivery date:           Nov 10, 2017 11:49
Spedal Handling:            Deliver Weekday

                            Residential Delivery

                            Direct Signature Required




Shipping Information:
Tracking number:            788238463403                   Ship date:               Oct 27,2017
                                                           Weight:                  4.0 lbs/1.8 kg



Recipient:                                                 Shipper:
PERRY FINE                                                 CCoC
615 ARAPEEN WAY, SUITE 155                                 1200 Ontario
SALT LAKE COUNTY, UT 84132 US                              Cleveland, OH 44113 US

Reference                                                  CV17888099
Invoice number                                             33652421


Thank you for choosing FedEx.




  CV17888099 / 33652421 / FINE/PERRY/ / 2017-11-11 05:17
SUMMONS IN A CIVIL ACTION                                   COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                 CLEVELAND, OHIO 44113
                   CASE NO.                                               SUMMONS NO.
                CV17888099                          D23    FX                 33652422                                                           Rule 4 (B) Ohio

                                                                                                                                                Rules of Civil
                                                                                                                                                Procedure
                           THE      COUNTY OF             CUYAHOGA                         PLAINTIFF
                                               VS                                                                                              SUMMONS
                    PURDUE          PHARMA,          L    P.,   ET AL.                     DEFENDANT




          SCOTT FISHMAN                                                                                            You have been named defendant in a sums
          2221      STOCKTON BLVD.                                                                               complaint (copy attached hereto) filed in Cuyahoga
          SACRAMENTO              CA     95817                                                                   County Court of Common Pleas, Cuyahoga County
                                                                                                                 Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                 plaintiff named herein.

                                                                                                                   You are hereby summoned and required to answer
                                                                                                                 the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                  summons upon you, exclusive of the day of service.

                                                                                                                   Said answer is required to be served on Plaintiffs
          Plantiffs Attorney                                                                                     Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                 Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                           within 3 days after service of said answer on
                                                                                                                 plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                    If you fail to do so, judgment by default will be
                                                                                                                 rendered against you for the relief demanded in the
                                                                                                                 complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                       NAILAH K. BYRD
                                                                                                    Clerk of the Court of Common Pleas

                                                                                                                                                       ■$54 COU^
                     DATE SENT
            Oct 27, 2017                                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                              Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                33652422




CMSN130
November 2,2017

Dear Customer:

The following is the proof-of-delivery for tracking number   788238463550.

Delivery Information:
Status:                       Delivered                       Delivered to:            Shipping/Receiving
Signed for by:                A.SHARIF                        Delivery location:       7301 14THAVE
                                                                                       SACRAMENTO, CA95817

Service type:                 FedEx Express Saver             Delivery date:           Nov 1,2017 09:47
Special Handling:             Deliver Weekday

                              Residential Delivery

                              Direct Signature Required




Shipping Information:
Tracking number:              788238463550                    Ship date:               Oct 27, 2017
                                                              Weight:                  4.0 lbs/1.8 kg



Recipient:                                                    Shipper:
SCOTT FISHMAN                                                 CCoC
2221 STOCKTON BLVD.                                           1200 Ontario
SACRAMENTO, CA 95817 US                                       Cleveland, OH 44113 US

Reference                                                     CV17888099
Invoice number                                                33652422



Thank you for choosing FedEx.




  CV17888099 / 33652422 / FISHMAN/SCOTT/ / 2017-11-2 05:18
SUMMONS IN A CIVIL ACTION                                   COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                 CLEVELAND, OHIO 44113
                   CASE NO.                                               SUMMONS NO.
                CV17888099                          D24    FX                 33652423                                                           Rule 4 (B) Ohio

                                                                                                                                                Rules of Civil
                                                                                                                                                Procedure
                           THE      COUNTY OF             CUYAHOGA                         PLAINTIFF
                                               VS                                                                                              SUMMONS
                    PURDUE          PHARMA,          L    P.,   ET AL.                     DEFENDANT




          LYNN WEBSTER                                                                                             You have been named defendant in a sums
          PRA HEALTH SCIENCES                                                                                    complaint (copy attached hereto) filed in Cuyahoga
          3838 S. 700 E. #202                                                                                    County Court of Common Pleas, Cuyahoga County
          SALT LAKE             COUNTY UT            84106                                                       Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                 plaintiff named herein.

                                                                                                                   You are hereby summoned and required to answer
                                                                                                                 the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                  summons upon you, exclusive of the day of service.

                                                                                                                   Said answer is required to be served on Plaintiffs
          Plantiffs Attorney                                                                                     Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                 Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                           within 3 days after service of said answer on
                                                                                                                 plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                    If you fail to do so, judgment by default will be
                                                                                                                 rendered against you for the relief demanded in the
                                                                                                                 complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                       NAILAH K. BYRD
                                                                                                    Clerk of the Court of Common Pleas

                                                                                                                                                       ■$54 COU^
                     DATE SENT
            Oct 27, 2017                                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                              Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                                33652423




CMSN130
November 3,2017

Dear Customer:

The following is the proof-of-delivery for tracking number   788238464914.

Delivery Information:
Status:                       Delivered                       Delivered to:            Receptionist/Front Desk
Signed for by:                B.BRAD                          Delivery location:       3838 S 700 E 202
                                                                                       SALT LAKE COUNTY, UT
                                                                                       84106

Service type:                 FedEx Express Saver             Delivery date:           Nov 1, 2017 14:26
Spedal Handling:              Deliver Weekday

                              Residential Delivery

                              Direct Signature Required




Shipping Information:
Tracking number:              788238464914                    Ship date:               Oct 27,2017
                                                              Weight:                  4.0 lbs/1.8 kg



Recipient:                                                    Shipper:
LYNN WEBSTER                                                  CCoC
PRA HEALTH SCIENCES                                           1200 Ontario
3838 S. 700 E. #202                                           Cleveland, OH 44113 US
SALT LAKE COUNTY, UT 84106 US

Reference                                                     CV17888099
Invoice number                                                33652423



Thank you for choosing FedEx.




  CV17888099 / 33652423 / WEBSTER/LYNN/ / 2017-11-3 05:18
SUMMONS IN A CIVIL ACTION                                     COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                CLEVELAND, OHIO 44113
                   CASE NO.                                              SUMMONS NO.
                CV17888099                          D4   FX                  33652950                                                           Rule 4 (B) Ohio

                                                                                                                                               Rules of Civil
                                                                                                                                               Procedure
                           THE      COUNTY OF            CUYAHOGA                         PLAINTIFF
                                               VS                                                                                             SUMMONS
                    PURDUE          PHARMA,          L   P.,   ET AL.                     DEFENDANT




          TEVA PHARMACEUTICALS USA, INC.                                                                          You have been named defendant in a sums
          C/O CORP. CREATIONS NETWORK, INC.                                                                     complaint (copy attached hereto) filed in Cuyahoga
          3411      SILVERSIDE               ROAD                                                               County Court of Common Pleas, Cuyahoga County
          WILMINGTON DE                  19810-0000                                                             Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                plaintiff named herein.

                                                                                                                  You are hereby summoned and required to answer
                                                                                                                the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                 summons upon you, exclusive of the day of service.

                                                                                                                  Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                    Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                          within 3 days after service of said answer on
                                                                                                                plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                   If you fail to do so, judgment by default will be
                                                                                                                rendered against you for the relief demanded in the
                                                                                                                complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                      NAILAH K. BYRD
                                                                                                   Clerk of the Court of Common Pleas

                                                                                                                                                      ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                        By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                             Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                               33652950




CMSN130
November 1,2017

Dear Customer:

The following is the proof-of-delivery for tracking number   788238983177.

Delivery Information:
Status:                       Delivered                       Delivered to:            Receptionist/Front Desk
Signed for by:                A.SIEMIENSKI                    Delivery location:       CO CORP CREATIONS
                                                                                       NETWORK I
                                                                                       WILMINGTON, DE 19810

Service type:                 FedEx Express Saver             Delivery date:           Oct 31, 2017 12:14
Spedal Handling:              Deliver Weekday

                              Direct Signature Required




Shipping Information:
Tracking number:              788238983177                    Ship date:               Oct 27, 2017
                                                              Weight:                  4.0 lbs/1.8 kg



Recipient:                                                    Shipper:
TEVA PHARMACEUTICALS USA, INC.                                CCoC
C/O CORP. CREATIONS NETWORK, INC.                             1200 Ontario
3411 SILVERSIDE ROAD                                          Cleveland, OH 44113 US
WILMINGTON, DE 19810 US

Reference                                                     CV17888099
Invoice number                                                33652950



Thank you for choosing FedEx.




  CV17888099 / 33652950 / TEVA PHARMACEUTICALS USA, INC. / 2017-11-1 05:18
SUMMONS IN A CIVIL ACTION                                     COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                                                CLEVELAND, OHIO 44113
                   CASE NO.                                              SUMMONS NO.
                CV17888099                          D5   FX                  33652951                                                           Rule 4 (B) Ohio

                                                                                                                                               Rules of Civil
                                                                                                                                               Procedure
                           THE      COUNTY OF            CUYAHOGA                         PLAINTIFF
                                               VS                                                                                             SUMMONS
                    PURDUE          PHARMA,          L   P.,   ET AL.                     DEFENDANT




          CEPHALON,             INC.                                                                              You have been named defendant in a sums
          C/O CORP.             CREATIONS NETWORK,                  INC.                                        complaint (copy attached hereto) filed in Cuyahoga
          3411      SILVERSIDE               ROAD                                                               County Court of Common Pleas, Cuyahoga County
          WILMINGTON DE                  19810-0000                                                             Justice Center, Cleveland, Ohio 44113, by the
                                                                                                                plaintiff named herein.

                                                                                                                  You are hereby summoned and required to answer
                                                                                                                the complaint within 28 days after service of this
                       Said answer is required to be served on:                                                 summons upon you, exclusive of the day of service.

                                                                                                                  Said answer is required to be served on Plaintiffs
          PlantifTs Attorney                                                                                    Attorney (Address denoted by arrow at left.)

          FRANK L GALLUCCI                     III                                                                Your answer must also be filed with the court
          55    PUBLIC          SQUARE                                                                          within 3 days after service of said answer on
                                                                                                                plaintiffs attorney.
          SUITE        2222
          CLEVELAND,              OH 44113-0000                                                                   If you fail to do so, judgment by default will be
                                                                                                                rendered against you for the relief demanded in the
                                                                                                                complaint.

                    Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                                      NAILAH K. BYRD
                                                                                                   Clerk of the Court of Common Pleas

                                                                                                                                                      ■$54 coU^
                     DATE SENT
            Oct 27, 2017                                        By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                             Deputy


               COMPLAINT FILED                     10/27/2017
                                                                                                               33652951




CMSN130
November 1,2017

Dear Customer:

The following is the proof-of-delivery for tracking number   788238982744.

Delivery Information:
Status:                       Delivered                       Delivered to:            Receptionist/Front Desk
Signed for by:                A.SIEMIENSKI                    Delivery location:       CO CORP CREATIONS
                                                                                       NETWORK I
                                                                                       WILMINGTON, DE 19810

Service type:                 FedEx Express Saver             Delivery date:           Oct 31, 2017 12:14
Spedal Handling:              Deliver Weekday

                              Direct Signature Required




Shipping Information:
Tracking number:              788238982744                    Ship date:               Oct 27, 2017
                                                              Weight:                  4.0 lbs/1.8 kg



Recipient:                                                    Shipper:
CEPHALON, INC.                                                CCoC
C/O CORP. CREATIONS NETWORK, INC.                             1200 Ontario
3411 SILVERSIDE ROAD                                          Cleveland, OH 44113 US
WILMINGTON, DE 19810 US

Reference                                                     CV17888099
invoice number                                                33652951



Thank you for choosing FedEx.




  CV17888099/33652951 / CEPHALON, INC. / 2017-11-1 05:18
                                          NAILAH K. BYRD
                                  CUYAHOGA COUNTY CUERK OF COURTS
                                                   1200 Ontario Street
                                                  Cleveland, Ohio 44113




                                             Court of Common Pleas


                                            NOTICE OF APPEARANCE
                                              November 7,2017 10:31

                                          By: O JUDSON SCHEAF 0040285

                                              Confirmation Nbr. 1218383



  THE COUNTY OF CUYAHOGA                                                  CV 17 888099

          vs.
                                                                Judge: SHANNON M. GALLAGHER
  PURDUE PHARMA, L.P, ET AL.




                                                   Pages Filed: 3




Electronically Filed 11/07/2017 10:31 / NOTICE/CV 17 888099 /Confirmation Nbr. 1218383 / CLDLJ
                                  in the court of common pleas
                                       cuyahoga county, ohio

   the county of cuyahoga,                                  )
                                                                   CASE NO. CV 17 888099
                                                            )
                     Plaintiff,                             )
                                                            )
             v.                                             )
                                                            )
   PURDUE PHARMA, L.P., et al.,
                                                            )
                                                            )
                     Defendants
                                                            )
                                                            )


                      NOTICE OF APPEARANCE OF O. JUDSON SCHEAF TTT
                                  AND JORDAN D. RAUCH

             Please take notice that O. Judson Scheaf III and Jordan D. Rauch of the law firm of Hahn

   Loeser & Parks LLP, 65 East State Street, Suite 1400, Columbus, Ohio 43215, hereby enter their

   appearance as counsel for Defendant Dr. Russell Portenoy (“Dr. Portenoy”). By filing this

  Notice of Appearance, the undersigned are specifically reserving Dr. Portenoy’s right to assert

   any and all objections and defenses including those based on due process or personal jurisdiction

   considerations.

                                                                Respectfully submitted,


                                                                /s/ O. Judson ScheafIII_ _ _ _ _ _ _ _ _ _ _ _
                                                                O. Judson Scheaf III (0040285)
                                                                Jordan D. Rauch (0093389)
                                                                Hahn Loeser & Parks LLP
                                                                65 East State Street, Suite 1400
                                                                Columbus, Ohio 43215
                                                                Telephone: (614) 233-5190
                                                                Facsimile: (614) 221-5909
                                                                Email: jscheaf@hahnlaw.com
                                                                       jrauch@hahnlaw.com

                                                                Counselfor Defendant Dr. Russell Portenoy




   9697358
Electronically Filed 11/07/2017 10:31 / NOTICE / CV 17 888099 / Confirmation Nbr. 1218383 / CLDLJ
                                        certificate of service

             I hereby certify that a copy of the foregoing Notice ofAppearance of O. Judson ScheafIII
   and Jordan D. Rauch was served on November 7, 2017 via regular U.S. Mail, postage prepaid,
   upon the following:
   John R. Climaco, Esq.                                          Purdue Pharma L.P.
   Climaco, Wilcox, Peca & Garofoli, C.O., L.P.A.                 c/o The Prentice Hall Corporation
   55 Public Square, Suite 1950                                   2711 Centerville Road
   Cleveland, Ohio 44113                                         Wilmington, DE 19808

   and                                                           and

   Patrick G. Warner, Esq.                                        Purdue Pharma Inc.
   Darrin C. Leist, Esq.                                          c/o The Prentice Hall Corporation
   Leist Warner LLC                                               2711 Centerville Road
   513 East Rich Street, Suite 201                                Wilmington, DE 19808
   Columbus, Ohio 43215
                                                                  and
   and
                                                                  The Purdue Frederick Company, Inc.
   Scott Kalis, Esq.                                              c/o The Prentice Hall Corporation
   Kalish Law LLC                                                 2711 Centerville Road
   1468 W. 9th Street, #405                                       Wilmington, DE 19808
   Cleveland, Ohio 44113
                                                                  and
   and
                                                                  Teva Pharmaceuticals USA, Inc.
  Paul J. Napoli, Esq.                                            c/o Corporate Creations Network Inc
  Joseph L. Ciaccio, Esq.                                         3411 Silverside Road
  Salvatore C. Badala, Esq.                                       Wilmington, DE 19180
  Napoli Shkolnik, PLLC
  400 Broadhollow Road, Suite 350                                 and
  Melville, New York 11747
                                                                  Cephalon, Inc.
  Attorneys for Plaintiff                                         c/o Corporate Creations Network Inc
                                                                  3411 Silverside Road
                                                                  Wilmington, DE 19180
  Johnson & Johnson                                               Janssen Pharmaceuticals, Inc.
  One Johnson & Johnson Plaza                                     116 Pine Street, Suite 320
  New Brunswick, NJ 08933                                         Harrisburg, PA 17101

   Ortho-McNeil-Janssen                                           Janssen Pharmaceutica, Inc. n/k/a
   Pharmaceuticals, Inc. n/k/a Janssen                            Janssen Pharmaceuticals, Inc.
   Pharmaceuticals, Inc.                                          116 Pine Street, Suite 320
   116 Pine Street, Suite 320                                     Harrisburg, PA 17101
   Harrisburg, PA 17101



   9697358
Electronically Filed 11/07/2017 10:31 / NOTICE / CV 17 888099 / Confirmation Nbr. 1218383 / CLDLJ
   Endo Pharmaceuticals, Inc.                                     Allergan PLC f/k/a Actavis PLC
   c/o The Corporation Trust Co.                                  CT Corporation System
   1209 Orange Street                                             4400 Easton Commons Way, Suite 125
   Wilmington, DE 19801                                           Columbus, Ohio 43215

   Actavis, Inc. f/k/a Watson                                     Amerisourcebergen Corporation
   Pharmaceuticals, Inc.                                          1300 East Ninth Street
   CT Corporation Network, Inc.                                   Cleveland, OH 44114
   119 E. Court Street
   Cincinnati, OH 45202

   Perry Fine                                                     Scott Fishman
   615 Arapeen Way, Suite 155                                     2221 Stockton Blvd.
   Salt Lake City, UT 84132                                       Sacramento, CA 95817

   Lynn Webster                                                   Frank Gallucci, Esq.
   PRA Health Sciences                                            Plevin & Gallucci Company, L.P.A.
   3838 S. 700 E #202                                             55 Public Square, Suite 2222
   Salt Lake City, UT 84106                                       Cleveland, Ohio 44113

                                                                 Attorneys for Plaintiff
                                                                 The County of Cuyahoga
   Scott E. Smith, Esq.                                           Leo M. Spellacy, Jr., Esq.
   Scott Elliot Smith LPA                                         Thrasher Dinsmore & Dolan LPA
   5003 Horizons Drive, Suite 200                                 1111 Superior Avenue, Suite 412
   Columbus, Ohio 43220                                           Cleveland, Ohio 44114

  Attorneys for Plaintiff                                        Attorneys for Plaintiff
  The County of Cuyahoga                                         The County of Cuyahoga


                                                               /s/ O. Judson ScheafIII
                                                               O. Judson Scheaf III
                                                               Counselfor Defendant Dr. Russell Portenoy




   9697358
Electronically Filed 11/07/2017 10:31 / NOTICE / CV 17 888099 / Confirmation Nbr. 1218383 / CLDLJ
                                           NAILAH K. BYRD
                                   CUYAHOGA COUNTY CUERK OF COURTS
                                                    1200 Ontario Street
                                                   Cleveland, Ohio 44113




                                              Court of Common Pleas


                                              REQUEST FOR SERVICE
                                               November 9, 2017 15:42

                                          By: FRANK L. GALLUCCI 0072680

                                               C onfirmation Nbr. 1221625



  THE COUNTY OF CUYAHOGA                                                   CV 17 888099

          vs.
                                                                   Judge: SHANNON M. GALLAGHER
  PURDUE PHARMA, L.P, ET AL.




                                                    Pages Filed:   1




Electronically Filed 11/09/2017 15:42 / SERVICE / CV 17 888099 / Confirmation Nbr. 1221625 / CLKAD
                              Common Pleas Court of Cuyahoga County, Ohio
                                    Nailah K. Byrd, Clerk of Courts


                                              INSTRUCTIONS FOR SERVICE


   The County of Cuyahoga                                   Case Number cvi7-888099
   Plaintiff(s)
                                                          Judge: Gallagher
   Vs.
   Purdue Pharma, L.P., et al.                            Date: 11/9/17_ _ _ _ _
   Defendants(s)



   Method of Service Requested:

   Certified Mail Serviced! Ordinary Mail Service □ Federal Express Service


   Personal Service by the Sheriff of_ _ _       _ _ _ _ _ _ _ _ _ County_ _

   Residence Service by the Sheriff of_ _                   County_ _

   Personal Service By Process Server_ _

   Residence Service by Process Server_ _ _

   Name(s) and Addressfes) of Parties to Serve:

   Amerisourcebergen Corporation
   c/o The Corporation Trust Company, Statutory Agent
   Corporation Trust Center, 1209 Orange Street_ _ _ _
   Wilmington, Deleware 19801

   Additional Instructions:
   Serve the attached Complaint by certified mail




   Filing Party Name: Frank L. Gallucci ill    Supreme Court ID if applicab!e;0072680

   Phone Number: 216-861-0804



   For Use by Sheriff or Process Server Only

   Number of Service Attempts:_ _ _ _ _ _ _ _ _ _ _ _ _

   Address for Service if Different from address included above:_ _ _ _ _ _ _ _ _ _




Electronically Filed 11/09/2017 15:42 / SERVICE / CV 17 888099 / Confirmation Nbr. 1221625 / CLKAD
SUMMONS IN A CIVIL ACTION                                 COURT OF COMMON PLEAS, CUYAHOGA COUNTY JUSTICE CENTER
                                                                                                          CLEVELAND, OHIO 44113
                  CASE NO.                                          SUMMONS NO.
               CV17888099                         D20    CM             33820966                                          Rule 4 (B) Ohio

                                                                                                                         Rules of Civil
                                                                                                                         Procedure
                        THE         COUNTY OF           CUYAHOGA              PLAINTIFF
                                             VS                                                                         SUMMONS
                   PURDUE           PHARMA,        L    P.,    ET AL.         DEFENDANT




          AMERISOURCEBERGEN CORPORATION                                                        You have been named defendant in a sums
          C/O THE CORPORATION TRUST COMPANY,                                                 complaint (copy attached hereto) filed in Cuyahoga
          STATUTORY AGENT                                                                    County Court of Common Pleas, Cuyahoga County
          CORPORATION TRUST CENTER                                                           Justice Center, Cleveland, Ohio 44113, by the
          1209 ORANGE ST                                                                     plaintiff named herein.
          WILMINGTON DE               19801-0000
                                                                                                You are hereby summoned and required to answer
                                                                                              the complaint within 28 days after service of this
                     Said answer is required to be served on:                                 summons upon you, exclusive of the day of service.

                                                                                               Said answer is required to be served on Plaintiffs
          Plantiffs Attorney                                                                 Attorney (Address denoted by arrow at left.)

          SCOTT ELLIOT               SMITH                                                     Your answer must also be filed with the court
          5003     HORIZONS           DR .        SUITE       200                            within 3 days after service of said answer on
                                                                                             plaintiffs attorney.
          COLUMBUS,            OH    43220--0000
                                                                                                If you fail to do so, judgment by default will be
                                                                                              rendered against you for the relief demanded in the
                                                                                              complaint.

                   Case has been assigned to Judge:

          SHANNON M GALLAGHER
          Do not contact judge. Judge's name is given for
          attorney's reference only.

                                                                                      NAILAH K. BYRD
                                                                                   Clerk of the Court of Common Pleas

                                                                                                                                ■Id   coU^
                    DATE SENT
           Nov 16,        2017



             COMPLAINT FILED                  10/27/2017
                                                                                             33820966




CMSN130
                                                                                             Motion No. 4639819




                                           NAILAH K. BYRD
                                   CUYAHOGA COUNTY CUERK OF COURTS
                                                    1200 Ontario Street
                                                   Cleveland, Ohio 44113




                                             Court of Common Pleas


                                       MOTION FOR EXTENSION OF TIME
                                           November 21,2017 10:51

                                          By: JOSEPH F. MURRAY 0063373

                                               Confirmation Nbr. 1231264



  THE COUNTY OF CUYAHOGA                                                   CV 17 888099

          vs.
                                                                 Judge: SHANNON M. GALLAGHER
  PURDUE PHARMA, L.P, ET AL.




                                                    Pages Filed: 4




Electronically Filed 11/21/2017 10:51 / MOTION / CV 17 888099 / Confirmation Nbr. 1231264 / CLCCB
                                    IN THE COURT OF COMMON PLEAS
                                        CUYAHOGA COUNTY, OHIO
                                             CIVIL DIVISION

       THE COUNTY OF CUYAHOGA,                                             Case No. CV 17 888099

              Plaintiff,                                                    Judge Gallagher

       v.

       PURDUE PHARMA L.P., et al.,                                  :

              Defendants.                                           :

            MOTION OF DEFENDANTS CARDINAL HEALTH, INC. AND MCKESSON
              CORPORATION FOR EXTENSION OF TIME TO MOVE OR PLEAD

                Defendants Cardinal Health, Inc.1 and McKesson Corporation (“Defendants”)

       respectfully move this Court for an extension of time to move or otherwise plead in

       response to Plaintiff’s Complaint for Damages (the “Complaint”). Defendants request

       that their deadline for responding to the Complaint be extended up to and including

       January 15, 2018. Defendants’ responses to the Complaint would otherwise be due on

       November 29, 2017. Due to the length and complexity of the Complaint, Defendants’

       counsel will require additional time to confer with the respective Defendants regarding

       the allegations set forth in the Complaint and to examine any affirmative defenses that

       may be available.

                Counsel for Plaintiff has been contacted regarding this request and has agreed to

       the extension.

                A proposed order has been submitted herewith.




       1 By filing this motion, Cardinal Health, Inc. does not concede that it is a proper party to this action, and it
       is not.




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                                                               Respectfully submitted,


                                                               /s/ Joseph F. Murray_ _ _ _ _ _ _ _ _ _
                                                               Joseph F. Murray (0063373)
                                                               Murray Murphy Moul + Basil LLP
                                                               1114 Dublin Road
                                                               Columbus, OH 43215
                                                               Telephone: 614.488.0400
                                                               Facsimile: 614.488.0401
                                                               E-mail: murray@mmmb.com

                                                               Attorney for Defendant Cardinal
                                                                  Health, Inc.

                                                               /s/ Vincent I. Holzhall (by permission)
                                                               Vincent I. Holzhall (0074901)
                                                               Trial Attorney
                                                               Alana Valle Tanoury (0092265)
                                                               Steptoe & Johnson PLLC
                                                               41 S. High Street, Suite 2200
                                                               Columbus, OH 43215
                                                               Telephone: 614.458.9828
                                                               Facsimile: 614.221.0952
                                                               E-mail: vince.holzhall@steptoe-
                                                                  johnson.com

                                                               Attorney for Defendant McKesson
                                                                  Corporation




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                                       CERTIFICATE OF SERVICE

                I hereby certify that on November 21, 2017, a copy of the foregoing was served

       via regular U.S. Mail, postage prepaid, upon the following:

       Robin M. Wilson                                        Cephalon, Inc.
       Cuyahoga County Department of Law                      c/o Corporate Creations Network Inc.
       County Administrative Headquarters                     3411 Silverside Road
       2079 East 9th Street, 7th Floor                        Wilmington, DE 19810
       Cleveland, OH 44115
                                                              Johnson & Johnson
       Frank Gallucci                                         One Johnson & Johnson Plaza
       Plevin & Gallucci Company, L.P.A.                      New Brunswick, NJ 08933
       55 Public Square
       Suite 2222                                             Janssen Pharmaceuticals, Inc.
       Cleveland, OH 44113                                    116 Pine Street, Suite 320
                                                              Harrisburg, PA 17101
       Paul J. Napoli
       Joseph L. Ciaccio                                      Ortho-McNeil-Janssen Pharmaceuticals,
       Salvatore C. Badala                                    Inc. n/k/a Janssen Pharmaceuticals, Inc.
       Paul B. Maslo                                          116 Pine Street, Suite 320
       Napoli Shkolnik, PLLC                                  Harrisburg, PA 17101
       400 Broadhollow Road, Suite 350
       Melville, NY 11747                                     Allergan PLC f/k/a Actavis PLC
                                                              CT Corporation System
       Scott Elliot Smith                                     4400 Easton Commons Way, Suite 125
       Scott Elliot Smith LPA                                 Columbus, OH 43215
       5003 Horizons Dr. Ste. 100
       Columbus, OH 43220                                     Actavis Pharma, Inc. f/k/a Watson Pharma,
                                                              Inc.
       Leo M. Spellacy, Jr.                                   Corporate Creations Network Inc.
       Thrasher Dinsmore & Dolan LPA                          119 E. Court Street
       1111 Superior Avenue, Suite 412                        Cincinnati, OH 45202
       Cleveland, OH 44114
                                                              Watson Laboratories, Inc.
       Purdue Pharma L.P.                                     Corporate Creations Network Inc.
       c/o The Prentice Hall Corporation                      119 E. Court Street
       2711 Centerville Road                                  Cincinnati, OH 45202
       Wilmington, DE 19808
                                                              O. Judson Scheaf III
       Purdue Pharma Inc.                                     Jordan D. Rauch
       c/o The Prentice Hall Corporation                      Hahn Loeser & Parks LLP
       2711 Centerville Road                                  65 East State Street, Suite 1400
       Wilmington, DE 19808                                   Columbus, OH 43215




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       The Purdue Frederick Company, Inc.                     Scott Fishman
       c/o The Prentice Hall Corporation                      2221 Stockton Blvd.
       2711 Centerville Road                                  Sacramento, CA 95817
       Wilmington, DE 19808
                                                              Endo Pharmaceuticals, Inc.
       Teva Pharmaceuticals USA, Inc.                         c/o The Corporation Trust Co.
       c/o Corporate Creations Network Inc.                   1209 Orange Street
       3411 Silverside Road                                   Wilmington, DE 19801
       Wilmington, DE 19810
                                                              Endo Health Solutions Inc.
       Janssen Pharmaceutica, Inc. n/k/a Janssen              c/o The Corporation Trust Co.
       Pharmaceuticals, Inc.                                  1209 Orange Street
       116 Pine Street, Suite 320                             Wilmington, DE 19801
       Harrisburg, PA 17101
                                                              Lynn Webster
       Actavis, Inc. f/k/a Watson Pharmaceuticals,            PRA Health Sciences
       Inc.                                                   3838 S 700E#202
       Corporate Creations Network Inc.                       Salt Lake City, UT 84106
       119 E. Court Street
       Cincinnati, OH 45202                                   INSYS Therapeutics, Inc.
                                                              1333 S. Spectrum Blvd. #100
       Actavis LLC                                            Chandler, AX 85286
       Corporate Creations Network Inc.
       119 E. Court Street                                    Perry Fine
       Cincinnati, OH 45202                                   615 Arapeen Way, Suite 155
                                                              Salt Lake City, UT 84132
       AmerisourceBergen Corporation
       1300 East Ninth Street
       Cleveland, OH 44114


                                                                    /s/ Joseph F. Murray_ _ _ _
                                                                    Joseph F. Murray (0063373)




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                                                                                              Motion No. 4640964




                                           NAILAH K. BYRD
                                   CUYAHOGA COUNTY CUERK OF COURTS
                                                    1200 Ontario Street
                                                   Cleveland, Ohio 44113




                                              Court of Common Pleas


                                       MOTION FOR EXTENSION OF TIME
                                           November 27, 2017 09:57

                                        By: GREGORY D. BRUNTON 0061722

                                               Confirmation Nbr. 1233820



  THE COUNTY OF CUYAHOGA                                                   CV 17 888099

          vs.
                                                                 Judge: SHANNON M. GALLAGHER
  PURDUE PHARMA, L.P, ET AL.




                                                    Pages Filed: 4




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                                         COURT OF COMMON PLEAS
                                         CUYAHOGA COUNTY, OHIO

         THE COUNTY OF CUYAHOGA,                              )   Case No. CV 17 888099
                                                              )
                          Plaintiff,                          )   Judge Shannon M. Gallagher
                                                              )
                  v.                                          )
                                                              )
         PURDUE PHARMA L.P., et al.,                          )
                                                              )
                          Defendants                          )
                                                              )



          CONSENT MOTION FOR EXTENSION OF TIME FOR DEFENDANTS PERRY
             FINE, M.D., SCOTT FISHMAN, M.D. AND LYNN WEBSTER, M.D. TO
             RESPOND TO PLAINTIFF COUNTY OF CUYAHOGA’S COMPLAINT


                  Defendants Perry Fine, M.D., Scott Fishman, M.D., and Lynn Webster, M.D.

         (“Defendants”), jointly and with the consent of Plaintiff County of Cuyahoga

         (“Plaintiff’), hereby request an extension of time to answer, move or otherwise respond

         to Plaintiff’s Complaint up to and including January 18, 2018.

                  Defendants are working diligently to compile the necessary information to

         properly respond to Plaintiff’s allegations. The Parties conferred about this motion and,

         given the length and complexity of the Complaint, Plaintiff’s counsel authorized defense

         counsel to advise the Court that Plaintiff consents to Defendants’ request for this

         extension of time.

                  Wherefore, Defendants hereby respectfully request that this honorable Court

         grant their motion for an extension of time through and including January 18, 2018 to

         answer, move or otherwise response to Plaintiff’s Complaint.




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                                                             Respectfully submitted,


                                                            /s/ Gregory D. Brunton_ _ _ _ _ _ _ _ _
                                                            Gregory D. Brunton (0061722)
                                                            Daniel J. Hyzak (0091298)
                                                            Tyler G. Tarney (0089082)
                                                            Bruce A. Moore (0093334)
                                                             Gordon Rees Scully Mansukhani, LLP
                                                             41 South High Street, Suite 240
                                                             Columbus, Ohio 43215
                                                             T: (614) 340 -5558
                                                             F: (614)360-2130
                                                            Email: gb runton@ grsm .com
                                                                    dhyzak@grsm.com
                                                                    ttarney@ grsm .com
                                                                    bmoore@grsm.com
                                                            Attorneys for Defendants Perry Fine, M.D.,
                                                            Scott Fishman, M.D., and Lynn Webster,
                                                            M.D.

         AGREED TO BY:
         /s/ Frank Gallucci by email authority 11/22/17
         Frank Gallucci
         Plevin & Gallucci Co., LPA
         55 Public Square, Suite 2222
         Cleveland, OH 44113
         fgallucci@pglawyer.com
         Counselfor Plaintiff




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                                                            2
                                          CERTIFICATE OF SERVICE

                  I hereby certify that a true and accurate copy of the foregoing was served this 27th

         day of November 2017, via electronic mail and/or regular U.S. mail, postage prepaid,

         upon the following:


         Paul J. Napoli                                          lspellacy@tddlaw.com
         pnapoli@napolilaw.com                                   Attorneys for Plaintiff
         Joseph L. Ciaccio
         icaiaccio@napolilaw.com                                 Vincent I. Holzhall
         Salvatore C. Badala                                     Alana Valle Tanoury
         sbadala@napolilaw.com                                   Steptoe & Johnson PLLC
         NAPOLI SHKOLNIK, PLLC                                   41 S. High Street, Suite 2200
         400 Broadhollow Road — Suite 350                        Columbus, OH 43215
         Melville, New York 11747                                Telephone: 614.458.9828
         Telephone: (212) 397-1000                               Facsimile: 614.221.0952
                                                                 vince.holzhall@steptoe-iohnson.com
         Robin M. Wilson                                         Attorney for Defendant McKesson
         County Administrative Headquarters                      Corporation
         Cuyahoga County Dept. of Law
         2079 East 9th St., 7th Fl.                              Purdue Pharma LP, Purdue Pharma Inc.
         Cleveland, OH 44115                                     Purdue Frederick Company Inc.
         T: 216-443-7042                                         C/O The Prentice Hall Corp.
         rwilson@cuyahogacounty.us                               2711 Centerville Rd.
                                                                 Wilmington, Delaware 19808
         Frank Gallucci                                          Defendant
         Plevin & Gallucci Co., LPA
         55 Public Square, Suite 2222                            Teva Pharmaceuticals USA Inc.
         Cleveland, OH 44113                                     C/O Corporate Creations Network Inc.
         fgallucci@pglawyer.com                                  3411 Silverside Rd.
                                                                 Wilmington, Delaware 19810
         Scott Elliott Smith                                     Defendant
         Scott Elliott Smith LPA
         5003 Horizons Dr., Ste. 200                             Cephalon Inc
         Columbus, OH 43220                                      C/O Corporate Creations Network Inc.
         T: 614-846-1700                                         3411 Silverside Rd.
         ses@sestriallaw.com                                     Wilmington, Delaware 19810
                                                                 Defendant
         Leo M. Spellacy, Jr.
         Thrasher Dinsmore & Dolan LPA                           Johnson & Johnson
         1111 Superior Ave., Suite 412                           One Johnson & Johnson Plaza
         Cleveland, OH 44114                                     New Brunswick, New Jersey 08933
         T: 216-255-5431                                         Defendant


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                                                                           Actavis Pharma
                       Janssen Pharmaceuticals Inc.                        Corporate Creations Network Inc.
                       Ortho-Mcneil -J anssen Pharmaceutical s             119 E. Court St.
                       Inc. and Janssen Pharmaceutica Inc.                 Cincinnati, Ohio 45202
                       116 Pine St., Ste. 320                              Defendant
                       Harrisburg, Pennsylvania 17101
                       Defendant                                           Endo Health Solutions Inc.
                                                                           C/O The Corporation Trust Co.
                       Endo Pharmaceuticals Inc.                           1209 Orange St.
                       C/O The Corporation Trust Co.                       Wilmington, Delaware 19801
                       1209 Orange St.                                     Defendant
                       Wilmington, Delaware 19801
                       Defendant                                           Joseph F. Murray
                                                                           Murray Murphy Moul + Basil LLP
                       Allergan PLC                                        1114 Dublin Road
                       CT Corporation System                               Columbus, OH 43215
                       4400 Easton Commons Way, Ste. 125                   Telephone: 614.488.0400
                       Columbus, Ohio 43215                                Facsimile: 614.488.0401
                       Defendant                                           murray@mmmb.com
                                                                           Attorney for Defendant Cardinal Health,
                       Actavis Inc.                                        Inc.
                       Corporate Creations Network Inc.
                       119 E. Court St.                                    Amerisourcebergen Corporation
                       Cincinnati, Ohio 45202                              1300 East Ninth St.
                       Defendant                                           Cleveland, Ohio 44114
                                                                           Defendant
                       Watson Laboratories Inc.
                       Corporate Creations Network Inc.                    O. Judson Scheaf III
                       119 E Court St.                                     Jordan D. Rauch
                       Cincinnati, Ohio 45202                              Hahn Loeser & Parks LLP
                       Defendant                                           65 East State Street, Suite 1400
                                                                           Columbus, Ohio 43215
                       Actavis LLC                                         Telephone: (614) 233-5190
                       Corporate Creations Network Inc.                    Facsimile: (614) 221-5909
                       119 E. Court St.                                    j scheaf@hahnlaw.com
                       Cincinnati, Ohio 45202                              j rauch@hahnl aw.com
                       Defendant                                           Counselfor Defendant Dr. Russell
                                                                           Portenoy



                                                                      /s/ Gregory D. Brunton_ _ _ _ _
                                                                      Gregory D. Brunton (0061722)
                                                                      Daniel J. Hyzak (0091298)
                                                                      Tyler G. Tarney (0089082)
                                                                      Bruce A. Moore (0093334)

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                                           101498874

                    IN THE COURT OF COMMON PLEAS
                        CUYAHOGA COUNTY, OHIO
THE COUNTY OF CUYAHOGA                                  Case No: CV-17-888099
      Plaintiff
                                                        Judge: SHANNON M GALLAGHER

PURDUE PHARMA, L.P., ET AL.
     Defendant

                                                        JOURNAL ENTRY


MOTION OF DEFENDANTS CARDINAL HEALTH, INC. AND MCKESSON CORPORATION FOR EXTENSION OF TIME TO
MOVE OR PLEAD, FILED 11/21/2017, IS GRANTED. DEFENDANTS CARDINAL HEALTH, INC. AND MCKESSON
CORPORATION ARE GRANTED LEAVE UNTIL ON OR BEFORE 1/15/2018 TO ANSWER OR OTHERWISE RESPOND TO
PLAINTIFF'S COMPLAINT.
MOTION FOR EXTENSION OF TIME FOR DEFENDANTS PERRY FINE, M.D., SCOTT FISHMAN, M.D. AND LYNN
WEBSTER, M.D. TO RESPOND TO PLAINTIFF COUNTY OF CUYAHOGA'S COMPLAINT, FILED 11/27/2017, IS
GRANTED. DEFENDANTS PERRY FINE, M.D., SCOTT FISHMAN, M.D. AND LYNN WEBSTER, M.D. ARE GRANTED
LEAVE TO ANSWER OR OTHERWISE RESPOND TO PLAINTIFF'S COMPLAINT UNTIL ON OR BEFORE 1/18/2018.




                                                      Judge Signature           11/27/2017




11/27/2017
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                                         11/27/2017 13:41:14
                                      NAILAH K. BYRD. CLERK
                                                                                             Page 1 of 1
